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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                               )
    In re:                                     ) Chapter 11
                                               )
                                             1
    HORNBECK OFFSHORE SERVICES, INC., et al., ) Case No. 20-32679 (DRJ)
                                               )
                  Debtors.                     ) (Jointly Administered)
                                               )

                       DEBTORS’ APPLICATION FOR
                  ENTRY OF AN ORDER AUTHORIZING THE
          RETENTION AND EMPLOYMENT OF KIRKLAND & ELLIS LLP
       AND KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR
    THE DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF MAY 19, 2020

          THIS APPLICATION SEEKS ENTRY OF AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
          YOU OPPOSE THE APPLICATION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
          PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE,
          YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST FILE
          AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON YOU.
          YOUR RESPONSE MUST STATE WHY THE APPLICATION SHOULD NOT BE GRANTED. IF
          YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
          FURTHER NOTICE TO YOU. IF YOU OPPOSE THE APPLICATION AND HAVE NOT REACHED
          AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
          OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
          THE APPLICATION AT THE HEARING.


          REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.


          The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

this application (this “Application”) for the entry of an order (the “Order”), substantially in the

form attached hereto, authorizing the Debtors to retain and employ Kirkland & Ellis LLP and

Kirkland & Ellis International LLP (collectively, “Kirkland”) as their attorneys effective as of the

Petition Date (as defined herein). In support of this Application, the Debtors submit the declaration



1     Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
      complete list of the Debtor entities and the last four digits of their federal tax identification numbers is not
      provided herein. A complete list may be obtained on the website of the Debtors’ claims and noticing agent at
      http://cases.stretto.com/hornbeck. The location of the Debtors’ service address is: 8 Greenway Plaza, Suite 1525,
      Houston, Texas 77046.
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of Ryan Blaine Bennett, the president of Ryan Blaine Bennett, P.C., a partner of Kirkland & Ellis

LLP, and a partner of Kirkland & Ellis International LLP (the “Bennett Declaration”), which is

attached hereto as Exhibit A and the declaration of James O. Harp, Jr., the Executive Vice

President and Chief Financial Officer of Hornbeck Offshore Services, Inc., which is attached

hereto as Exhibit B (the “Harp Declaration,” together with the Bennett Declaration, the

“Declarations”). In further support of this Application, the Debtors respectfully state as follows.

                                     Jurisdiction and Venue

       4.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). The Debtors confirm their consent, pursuant to

rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to entry of a

final order by the Court in connection with this Application to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

       5.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       6.      The bases for the relief requested herein are sections 327(a) and 330 of title 11 of

the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), Bankruptcy Rules

2014(a) and 2016, and rules 2014-1 and 2016-1 of the Local Bankruptcy Rules for the Southern

District of Texas (the “Local Bankruptcy Rules”).

                                            Background

       7.      The Debtors (together with their non-Debtor affiliates, the “Company”) are a

leading provider of marine transportation, subsea installation, and accommodation support

services to exploration and production, oilfield service, offshore construction, and U.S. military

customers. Since its establishment, the Company has been primarily focused on providing

                                                  2
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innovative and technologically advanced marine solutions to meet the evolving needs of the

deepwater and ultra-deepwater energy industry. The Company also provides strategic services to

the United States through a variety of contracts with the Military Sealift Command. Headquartered

in Covington, Louisiana, the Company’s operations are extensive and span across the Gulf of

Mexico, Mexico, Brazil, and other foreign regions around the world.

         8.     On May 19, 2020 (the “Petition Date”), each Debtor2 filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses and

managing their properties as debtors in possession pursuant to section 1107(a) and 1108 of the

Bankruptcy Code. On May 19, the Court entered an order [Docket No. 29] authorizing the joint

administration and procedural consolidation of the chapter 11 cases pursuant to Bankruptcy Rule

1015(b). No entity has requested the appointment of a trustee or examiner in these chapter 11

cases.

         9.    A description of the Debtors’ businesses, the reasons for commencing the chapter 11

cases, and the relief sought from the Court to allow for a smooth transition into chapter 11 are set

forth in the Declaration of James O. Harp, Jr., Executive Vice President and Chief Financial

Officer of Hornbeck Offshore Services, Inc., in Support of the Chapter 11 Petitions and the First

Day Motions filed on the Petition Date [Docket No. 4], incorporated herein by reference.

                                            Relief Requested

         10.    By this Application, the Debtors seek the entry of the Order authorizing the

retention and employment of Kirkland as their attorneys in accordance with the terms and

conditions set forth in that certain engagement letter between the Debtors and Kirkland effective



2   HOS WELLMAX Services, LLC filed its voluntary petition for relief under chapter 11 of the Bankruptcy Code
    in this Court on March 31, 2020.


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as of June 29, 2017 (the “Engagement Letter”), a copy of which is attached as Exhibit 1 to the

Order and incorporated herein by reference.

                                          Kirkland’s Qualifications

        11.      The Debtors seek to retain Kirkland because of Kirkland’s recognized expertise and

extensive experience and knowledge in the field of debtors’ protections, creditors’ rights, and

business reorganizations under chapter 11 of the Bankruptcy Code.

        12.      Kirkland has been actively involved in major chapter 11 cases and has represented

debtors in many cases, including, among others: See e.g. In re Whiting Petroleum Corp., No. 20-

32021 (DRJ) (Bankr. S.D. Tex. May 6, 2020); In re Sheridan Holding Co. I, LLC, No. 20-31884

(DRJ) (Bankr. S.D. Tex. April 24, 2020); In re McDermott Int’l, Inc., No. 20-30336 (DRJ) (Bankr.

S.D. Tex. Jan. 23, 2020); In re Sheridan Holding Co. II, LLC, No. 19-35198 (MI) (Bankr. S.D.

Tex. Oct. 21, 2019); In re Vanguard Natural Resources, Inc., No. 19-31786 (DRJ) (Bankr. S.D.

Tex. May 14, 2019); In re Jones Energy, Inc., No. 19-32112 (DRJ) (Bankr. S.D. Tex. May 6,

2019); In re Westmoreland Coal Company, No. 18-35672 (DRJ) (Bankr. S.D. Tex. Nov. 14, 2018);

In re iHeartMedia, Inc., No. 18-31274 (MI) (Bankr. S.D. Tex. Apr. 12, 2018); In re EXCO Res.,

Inc., No. 18-30155 (MI) (Bankr. S.D. Tex. Feb. 22, 2018).3

        13.      In preparing for its representation of the Debtors in these chapter 11 cases, Kirkland

has become familiar with the Debtors’ businesses and many of the potential legal issues that may

arise in the context of these chapter 11 cases. The Debtors believe that Kirkland is both

well-qualified and uniquely able to represent the Debtors in these chapter 11 cases in an efficient

and timely manner.



3   Because of the voluminous nature of the orders cited in this Application, they are not attached to this Application.
    Copies of these orders are available upon request to Kirkland.


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                                  Services to be Provided

       14.   Subject to further order of the Court, and consistent with the Engagement Letter,

the Debtors request the retention and employment of Kirkland to render the following legal

services:

             a.     advising the Debtors with respect to their powers and duties as debtors in
                    possession in the continued management and operation of their businesses
                    and properties;

             b.     advising and consulting on the conduct of these chapter 11 cases, including
                    all of the legal and administrative requirements of operating in chapter 11;

             c.     attending meetings and negotiating with representatives of creditors and
                    other parties in interest;

             d.     taking all necessary actions to protect and preserve the Debtors’ estates,
                    including prosecuting actions on the Debtors’ behalf, defending any action
                    commenced against the Debtors, and representing the Debtors in
                    negotiations concerning litigation in which the Debtors are involved,
                    including objections to claims filed against the Debtors’ estates;

             e.     preparing pleadings in connection with these chapter 11 cases, including
                    motions, applications, answers, orders, reports, and papers necessary or
                    otherwise beneficial to the administration of the Debtors’ estates;

             f.     representing the Debtors in connection with obtaining authority to continue
                    using cash collateral and postpetition financing;

             g.     advising the Debtors in connection with any potential sale of assets;

             h.     appearing before the Court and any appellate courts to represent the interests
                    of the Debtors’ estates;

             i.     advising the Debtors regarding tax matters;

             j.     taking any necessary action on behalf of the Debtors to negotiate, prepare,
                    and obtain approval of a disclosure statement and confirmation of a chapter
                    11 plan and all documents related thereto; and

             k.     performing all other necessary legal services for the Debtors in connection
                    with the prosecution of these chapter 11 cases, including: (i) analyzing the
                    Debtors’ leases and contracts and the assumption and assignment or
                    rejection thereof; (ii) analyzing the validity of liens against the Debtors; and
                    (iii) advising the Debtors on corporate and litigation matters.


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                                          Professional Compensation

        15.       Kirkland intends to apply for compensation for professional services rendered on

an hourly basis and reimbursement of expenses incurred in connection with these chapter 11 cases,

subject to the Court’s approval and in compliance with applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, the Local Bankruptcy Rules, and any other applicable procedures

and orders of the Court. The hourly rates and corresponding rate structure Kirkland will use in

these chapter 11 cases are the same as the hourly rates and corresponding rate structure that

Kirkland uses in other restructuring matters, as well as similar complex corporate, securities, and

litigation matters whether in court or otherwise, regardless of whether a fee application is required.

These rates and the rate structure reflect that such restructuring and other complex matters typically

are national in scope and involve great complexity, high stakes, and severe time pressures.

        16.       Kirkland operates in a national marketplace for legal services in which rates are

driven by multiple factors relating to the individual lawyer, his or her area of specialization, the

firm’s expertise, performance, and reputation, the nature of the work involved, and other factors.

        17.       Kirkland’s current hourly rates for matters related to these chapter 11 cases range

as follows:4




4   For professionals and paraprofessionals residing outside of the U.S., hourly rates are billed in the applicable
    currency. When billing a U.S. entity, such foreign rates are converted into U.S. dollars at the then applicable
    conversion rate. After converting these foreign rates into U.S. dollars, it is possible that certain rates may exceed
    the billing rates listed in the chart herein. While the rate ranges provided for in this Application may change if
    an individual leaves or joins Kirkland, if any such individual’s billing rate falls outside the ranges disclosed above,
    Kirkland does not intend to update the ranges for such circumstances.



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                                Billing Category5                   U.S. Range
                                     Partners                      $1,075-$1,845
                                    Of Counsel                      $625-$1,845
                                    Associates                      $610-$1,165
                                Paraprofessionals                    $245-$460

        18.      Kirkland’s hourly rates are set at a level designed to compensate Kirkland fairly for

the work of its attorneys and paraprofessionals and to cover fixed and routine expenses. Hourly

rates vary with the experience and seniority of the individuals assigned. These hourly rates are

subject to periodic adjustments to reflect economic and other conditions.6

        19.      Kirkland represented the Debtors during the twelve-month period before the

Petition Date, using the hourly rates listed above or Kirkland’s then current hourly rates as set forth

in the Bennett Declaration. Moreover, these hourly rates are consistent with the rates that Kirkland

charges other comparable chapter 11 clients, regardless of the location of the chapter 11 case.

        20.      The rate structure provided by Kirkland is appropriate and not significantly

different from (a) the rates that Kirkland charges for other similar types of representations or

(b) the rates that other comparable counsel would charge to do work substantially similar to the

work Kirkland will perform in these chapter 11 cases.




5   Although Kirkland does not anticipate using contract attorneys during these chapter 11 cases, in the unlikely event
    that it becomes necessary to use contract attorneys, Kirkland will not charge a markup to the Debtors with respect
    to fees billed by such attorneys. Moreover, any contract attorneys or non-attorneys who are employed by the
    Debtors in connection with work performed by Kirkland will be subject to conflict checks and disclosures in
    accordance with the requirements of the Bankruptcy Code.
6   For example, like many of its peer law firms, Kirkland typically increases the hourly billing rate of attorneys and
    paraprofessionals twice a year in the form of: (i) step increases historically awarded in the ordinary course on the
    basis of advancing seniority and promotion; and (ii) periodic increases within each attorney’s and
    paraprofessional’s current level of seniority. The step increases do not constitute “rate increases” (as the term is
    used in the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed
    Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013). As set forth in
    the Order, Kirkland will provide ten business-days’ notice to the Debtors, the U.S. Trustee, and any official
    committee before implementing any periodic increases, and shall file any such notice with the Court.


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       21.     It is Kirkland’s policy to charge its clients in all areas of practice for identifiable,

non-overhead expenses incurred in connection with the client’s case that would not have been

incurred except for representation of that particular client. It is also Kirkland’s policy to charge

its clients only the amount actually incurred by Kirkland in connection with such items. Examples

of such expenses include postage, overnight mail, courier delivery, transportation, overtime

expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging.

       22.     To ensure compliance with all applicable deadlines in these chapter 11 cases, from

time to time Kirkland utilizes the services of overtime secretaries. Kirkland charges fees for these

services pursuant to the Engagement Letter, which permits Kirkland to bill the Debtors for

overtime secretarial charges that arise out of business necessity.            In addition, Kirkland

professionals also may charge their overtime meals and overtime transportation to the Debtors

consistent with prepetition practices.

       23.     Kirkland currently charges the Debtors $0.16 per page for standard duplication in

its offices in the United States. Kirkland does not charge its clients for incoming facsimile

transmissions. Kirkland has negotiated a discounted rate for Westlaw computer-assisted legal

research. Computer-assisted legal research is used whenever the researcher determines that using

Westlaw is more cost effective than using traditional (non-computer assisted legal research)

techniques.

                    Compensation Received by Kirkland from the Debtors

       24.     Per the terms of the Engagement Letter, on January 30, 2020, the Debtors paid

$1,000,000 to Kirkland, which, as stated in the Engagement Letter, constituted an “advance

payment retainer” as defined in Rule 1.15(c) of the Illinois Rules of Professional Conduct and

Dowling v. Chicago Options Assoc., Inc., 875 N.E.2d 1012, 1018 (Ill. 2007). Subsequently, the

Debtors paid to Kirkland additional advance payment retainer totaling $7,205,889.55 in the
                                                  8
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aggregate. As stated in the Engagement Letter, any advance payment retainer is earned by

Kirkland upon receipt, any advance payment retainer becomes the property of Kirkland upon

receipt, the Debtors no longer have a property interest in any advance payment retainer upon

Kirkland’s receipt, any advance payment retainer will be placed in Kirkland’s general account and

will not be held in a client trust account, and the Debtors will not earn any interest on any advance

payment retainer.7

        25.      Pursuant to Bankruptcy Rule 2016(b), Kirkland has neither shared nor agreed to

share (a) any compensation it has received or may receive with another party or person, other than

with the partners, associates, and contract attorneys associated with Kirkland or (b) any

compensation another person or party has received or may receive.

        26.      As of the Petition Date, the Debtors did not owe Kirkland any amounts for legal

services rendered before the Petition Date. Although certain expenses and fees may have been

incurred but not yet applied to Kirkland’s advance payment retainer, the amount of Kirkland’s

advance payment retainer always exceeded any amounts listed or to be listed on statements

describing services rendered and expenses incurred (on a “rates times hours” and “dates of

expenses incurred” basis) prior to the Petition Date.

                                       Kirkland’s Disinterestedness

        27.      To the best of the Debtors’ knowledge and as disclosed herein and in the Bennett

Declaration, (a) Kirkland is a “disinterested person” within the meaning of section 101(14) of the

Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code, and does not hold or



7   The Engagement Letter permits Kirkland to retain any prepetition advance payment retainer held by Kirkland as
    of the Petition Date rather than applying such prepetition advance payment retainer to pay postpetition fees and
    expenses. In light of the facts and circumstances of these chapter 11 cases, Kirkland will retain any prepetition
    advance payment retainer held by Kirkland as of the Petition Date and will not apply any such amounts to
    postpetition fees and expenses.


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represent an interest adverse to the Debtors’ estates and (b) Kirkland has no connection to the

Debtors, their creditors, or other parties in interest, except as may be disclosed in the Bennett

Declaration.

       28.     Kirkland will review its files periodically during the pendency of these chapter 11

cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

relevant facts or relationships are discovered or arise, Kirkland will use reasonable efforts to

identify such further developments and will promptly file a supplemental declaration, as required

by Bankruptcy Rule 2014(a).

                                      Supporting Authority

       29.     The Debtors seek retention of Kirkland as their attorneys pursuant to section 327(a)

of the Bankruptcy Code, which provides that a debtor, subject to Court approval:

               [M]ay employ one or more attorneys, accountants, appraisers,
               auctioneers, or other professional persons, that do not hold or
               represent an interest adverse to the estate, and that are disinterested
               persons, to represent or assist the [debtor] in carrying out the
               [debtor]’s duties under this title.

11 U.S.C. § 327(a).

       30.     Bankruptcy Rule 2014(a) requires that an application for retention include:

               [S]pecific facts showing the necessity for the employment, the name
               of the [firm] to be employed, the reasons for the selection, the
               professional services to be rendered, any proposed arrangement for
               compensation, and, to the best of the applicant’s knowledge, all of
               the [firm’s] connections with the debtor, creditors, any other party
               in interest, their respective attorneys and accountants, the United
               States trustee, or any person employed in the office of the United
               States trustee.

Fed. R. Bankr. P. 2014.

       31.     The Debtors submit that for all the reasons stated above and in the Bennett

Declaration, the retention and employment of Kirkland as counsel to the Debtors is warranted.


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Further, as stated in the Bennett Declaration, Kirkland is a “disinterested person” within the

meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of the

Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates and

has no connection to the Debtors, their creditors, or other parties in interest, except as may be

disclosed in the Bennett Declaration.

                                               Notice

       32.     The Debtors will provide notice of this Application to the following parties or their

respective counsel: (a) the U.S. Trustee for the Southern District of Texas; (b) entities listed as

holding the 30 largest unsecured claims against the Debtors (on a consolidated basis); (c) the agent

for each of the Debtors’ term loans, and counsel thereto; (d) the indenture trustee for each of the

Debtors’ unsecured notes, and counsel thereto; (e) the United States Attorney’s Office for the

Southern District of Texas; (f) the Internal Revenue Service; (g) the United States Securities and

Exchange Commission; (h) the Environmental Protection Agency and similar state environmental

agencies for states in which the Debtors conduct business; (i) the state attorneys general for states

in which the Debtors conduct business; (j) Davis Polk & Wardwell LLP, counsel to the Secured

Lender Group and proposed debtor-in possession lenders; (k) Milbank LLP, counsel to the

Noteholder Committee and the proposed debtor-in-possession lenders; and (l) any party that has

requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature

of the relief requested, no other or further notice need be given.




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        WHEREFORE, the Debtors respectfully request that the Court enter the Order,

substantially in the form attached hereto, granting the relief requested herein and granting such

other relief as is just and proper.

 Dated: May 26, 2020                                 /s/ James O. Harp, Jr.
        Houston, Texas                               James O. Harp, Jr.
                                                     Executive Vice President and Chief
                                                     Financial Officer
                                                     Hornbeck Offshore Services, Inc.




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                                     Certificate of Service


        I certify that on May 26, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
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                           EXHIBIT A

                        Bennett Declaration
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                               )
    In re:                                     ) Chapter 11
                                               )
                                             1
    HORNBECK OFFSHORE SERVICES, INC., et al., ) Case No. 20-32679 (DRJ)
                                               )
                  Debtors.                     ) (Jointly Administered)
                                               )

          DECLARATION OF RYAN BLAINE BENNETT IN SUPPORT
        OF THE DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER
    AUTHORIZING THE RETENTION AND EMPLOYMENT OF KIRKLAND &
ELLIS LLP AND KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR
 THE DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF MAY 19, 2020

          I, Ryan Blaine Bennett, being duly sworn, state the following under penalty of perjury:

          1.       I am the president of Ryan Blaine Bennett, P.C., a partner of the law firm of

Kirkland & Ellis LLP, located at 300 North LaSalle, Chicago, Illinois 60654, and a partner of

Kirkland & Ellis International, LLP (together with Kirkland & Ellis LLP, collectively,

“Kirkland”). I am one of the lead attorneys from Kirkland working on the above-captioned chapter

11 cases. I am a member in good standing of the Bar of the State of Illinois, and I have been

admitted to practice in United States Supreme Court, the United States Courts of Appeals for the

Federal and Seventh Circuits, and the United States District Court for the Eastern District of

Michigan, the Western District of Michigan, and the Northern District of Illinois. There are no

disciplinary proceedings pending against me.




1     Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
      complete list of the Debtor entities and the last four digits of their federal tax identification numbers is not
      provided herein. A complete list may be obtained on the website of the Debtors’ claims and noticing agent at
      http://cases.stretto.com/hornbeck. The location of the Debtors’ service address is: 8 Greenway Plaza, Suite 1525,
      Houston, Texas 77046.
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        2.       I submit this declaration (the “Declaration”) in support of the Debtors’ Application

for Entry of an Order Authorizing the Retention and Employment of Kirkland & Ellis LLP and

Kirkland & Ellis International LLP as Attorneys for the Debtors and Debtors in Possession

Effective as of May 19, 2020 (the “Application”).2 Except as otherwise noted, I have personal

knowledge of the matters set forth herein.

                                          Kirkland’s Qualifications

        3.       The Debtors seek to retain Kirkland because of Kirkland’s recognized expertise and

extensive experience and knowledge in the field of debtors’ protections, creditors’ rights, and

business reorganizations under chapter 11 of the Bankruptcy Code.

        4.       Kirkland has been actively involved in major chapter 11 cases and has represented

debtors in many cases, including, among others: See e.g. In re Whiting Petroleum Corp., No. 20-

32021 (DRJ) (Bankr. S.D. Tex. May 6, 2020); In re Sheridan Holding Co. I, LLC, No. 20-31884

(DRJ) (Bankr. S.D. Tex. April 24, 2020); In re McDermott Int’l, Inc., No. 20-30336 (DRJ) (Bankr.

S.D. Tex. Jan. 23, 2020); In re Sheridan Holding Co. II, LLC, No. 19-35198 (MI) (Bankr. S.D.

Tex. Oct. 21, 2019); In re Vanguard Natural Resources, Inc., No. 19-31786 (DRJ) (Bankr. S.D.

Tex. May 14, 2019); In re Jones Energy, Inc., No. 19-32112 (DRJ) (Bankr. S.D. Tex. May 6,

2019); In re Westmoreland Coal Company, No. 18-35672 (DRJ) (Bankr. S.D. Tex. Nov. 14, 2018);

In re iHeartMedia, Inc., No. 18-31274 (MI) (Bankr. S.D. Tex. Apr. 12, 2018); In re EXCO Res.,

Inc., No. 18-30155 (MI) (Bankr. S.D. Tex. Feb. 22, 2018).3




2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Application.
3   Because of the voluminous nature of the orders cited in this Declaration, they are not attached to this Declaration.
    Copies of these orders are available upon request to Kirkland.

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       5.      In preparing for its representation of the Debtors in these chapter 11 cases, Kirkland

has become familiar with the Debtors’ businesses and many of the potential legal issues that may

arise in the context of these chapter 11 cases. I believe that Kirkland is both well-qualified and

uniquely able to represent the Debtors in these chapter 11 cases in an efficient and timely manner.

                                     Services to Be Provided

       6.      Subject to further order of the Court and that certain engagement letter dated June

29, 2017 (the “Engagement Letter”), a copy of which is attached as Exhibit 1 to the Order, the

Debtors retained Kirkland to render, without limitation, the following legal services:

               a.     advising the Debtors with respect to its powers and duties as debtor in
                      possession in the continued management and operation of its businesses and
                      properties;

               b.     advising and consulting on the conduct of these chapter 11 cases, including
                      all of the legal and administrative requirements of operating in chapter 11;

               c.     attending meetings and negotiating with representatives of creditors and
                      other parties in interest;

               d.     taking all necessary actions to protect and preserve the Debtors’ estates,
                      including prosecuting actions on the Debtors’ behalf, defending any action
                      commenced against the Debtors, and representing the Debtors in
                      negotiations concerning litigation in which the Debtors are involved,
                      including objections to claims filed against the Debtors’ estates;

               e.     preparing pleadings in connection with these chapter 11 cases, including
                      motions, applications, answers, orders, reports, and papers necessary or
                      otherwise beneficial to the administration of the Debtors’ estates;

               f.     representing the Debtors in connection with obtaining authority to continue
                      using cash collateral and postpetition financing;

               g.     advising the Debtors in connection with any potential sale of assets;

               h.     appearing before the Court and any appellate courts to represent the interests
                      of the Debtors’ estates;

               i.     advising the Debtors regarding tax matters;



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               j.      taking any necessary action on behalf of the Debtors to negotiate, prepare,
                       and obtain approval of a disclosure statement and confirmation of a chapter
                       11 plan and all documents related thereto; and

               k.      performing all other necessary legal services for the Debtors in connection
                       with the prosecution of these chapter 11 cases, including: (i) analyzing the
                       Debtors’ leases and contracts and the assumption and assignment or
                       rejection thereof; (ii) analyzing the validity of liens against the Debtors; and
                       (iii) advising the Debtors on corporate and litigation matters.

                                   Professional Compensation

       7.      Kirkland intends to apply for compensation for professional services rendered on

an hourly basis and reimbursement of expenses incurred in connection with these chapter 11 cases,

subject to the Court’s approval and in compliance with applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, the Local Bankruptcy Rules, and any other applicable procedures

and orders of the Court. The hourly rates and corresponding rate structure Kirkland will use in

these chapter 11 cases are the same as the hourly rates and corresponding rate structure that

Kirkland uses in other debtor representations, and are comparable to the hourly rates and

corresponding rate structure that Kirkland uses for complex corporate, securities, and litigation

matters whether in court or otherwise, regardless of whether a fee application is required. These

rates and the rate structure reflect that such restructuring and other complex matters typically are

national in scope and involve great complexity, high stakes, and severe time pressures.

       8.      Kirkland operates in a national marketplace for legal services in which rates are

driven by multiple factors relating to the individual lawyer, his or her area of specialization, the

firm’s expertise, performance, and reputation, the nature of the work involved, and other factors.




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        9.        Kirkland’s current hourly rates for matters related to these chapter 11 cases range

as follows:4

                                Billing Category5                    U.S. Range
                                     Partners                       $1,075-$1,845
                                    Of Counsel                       $625-$1,845
                                    Associates                       $610-$1,165
                                Paraprofessionals                     $245-$460

        10.       Kirkland’s hourly rates are set at a level designed to compensate Kirkland fairly for

the work of its attorneys and paralegals and to cover fixed and routine expenses. Hourly rates vary

with the experience and seniority of the individuals assigned. These hourly rates are subject to

periodic adjustments to reflect economic and other conditions.6

        11.       It is Kirkland’s policy to charge its clients in all areas of practice for identifiable,

non-overhead expenses incurred in connection with the client’s case that would not have been

incurred except for representation of that particular client. It is also Kirkland’s policy to charge

its clients only the amount actually incurred by Kirkland in connection with such items. Examples



4   For professionals and paraprofessionals residing outside of the U.S., hourly rates are billed in the applicable
    currency. When billing a U.S. entity, such foreign rates are converted into U.S. dollars at the then applicable
    conversion rate. After converting these foreign rates into U.S. dollars, it is possible that certain rates may exceed
    the billing rates listed in the chart herein. While the rate ranges provided for in this Application may change if
    an individual leaves or joins Kirkland, and if any such individual’s billing rate falls outside the ranges disclosed
    above, Kirkland does not intend to update the ranges for such circumstances.
5   Although Kirkland does not anticipate using contract attorneys during these chapter 11 cases, in the unlikely event
    that it becomes necessary to use contract attorneys, Kirkland will not charge a markup to the Debtors with respect
    to fees billed by such attorneys. Moreover, any contract attorneys or non-attorneys who are employed by the
    Debtors in connection with work performed by Kirkland will be subject to conflict checks and disclosures in
    accordance with the requirements of the Bankruptcy Code.
6   For example, like many of its peer law firms, Kirkland typically increases the hourly billing rate of attorneys and
    paraprofessionals twice a year in the form of: (i) step increases historically awarded in the ordinary course on the
    basis of advancing seniority and promotion and (ii) periodic increases within each attorney’s and
    paraprofessional’s current level of seniority. The step increases do not constitute “rate increases” (as the term is
    used in the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed
    Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013). As set forth in
    the Order, Kirkland will provide ten business days’ notice to the Debtors, the U.S. Trustee, and any official
    committee before implementing any periodic increases, and shall file such notice with the Court.

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of such expenses include postage, overnight mail, courier delivery, transportation, overtime

expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging.

       12.     To ensure compliance with all applicable deadlines in these chapter 11 cases,

Kirkland utilizes the services of overtime secretaries. Kirkland charges fees for these services

pursuant to the Engagement Letter between Kirkland and the Debtors, which permits Kirkland to

bill the Debtors for overtime secretarial charges that arise out of business necessity. In addition,

Kirkland professionals also may charge their overtime meals and overtime transportation to the

Debtors consistent with prepetition practices.

       13.     Kirkland currently charges the Debtors $0.16 per page for standard duplication in

its offices in the United States. Kirkland does not charge its clients for incoming facsimile

transmissions. Kirkland has negotiated a discounted rate for Westlaw computer-assisted legal

research. Computer-assisted legal research is used whenever the researcher determines that using

Westlaw is more cost effective than using traditional (non-computer assisted legal research)

techniques.

                    Compensation Received by Kirkland from the Debtors

       14.     Per the terms of the Engagement Letter, on January 30, 2020, the Debtors paid

$1,000,000 to Kirkland, which, as stated in the Engagement Letter, constituted an “advance

payment retainer” as defined in Rule 1.15(c) of the Illinois Rules of Professional Conduct and

Dowling v. Chicago Options Assoc., Inc., 875 N.E.2d 1012, 1018 (Ill. 2007). Subsequently, the

Debtors paid to Kirkland additional advance payment retainer totaling $7,205,889.55 in the

aggregate. As stated in the Engagement Letter, any advance payment retainer is earned by

Kirkland upon receipt, any advance payment retainer becomes the property of Kirkland upon

receipt, the Debtors no longer have a property interest in any advance payment retainer upon

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Kirkland’s receipt, any advance payment retainer will be placed in Kirkland’s general account and

will not be held in a client trust account, and the Debtors will not earn any interest on any advance

payment retainer.7

        15.      As of the Petition Date, the Debtors did not owe Kirkland any amounts for legal

services rendered before the Petition Date. Although certain expenses and fees may have been

incurred, but not yet applied to Kirkland’s advance payment retainer, Kirkland’s total advance

payment retainer always exceeded any amounts listed or to be listed on statements describing

services rendered and expenses incurred (on a “rates times hours” and “dates of expenses incurred”

basis) prior to the Petition Date.

        16.      Pursuant to Bankruptcy Rule 2016(b), Kirkland has not shared nor agreed to share

(a) any compensation it has received or may receive with another party or person, other than with

the partners, associates, and contract attorneys associated with Kirkland or (b) any compensation

another person or party has received or may receive.

                            Statement Regarding U.S. Trustee Guidelines

        17.      Kirkland shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Local Bankruptcy Rules, and any other applicable procedures and orders of the

Court. Kirkland also intends to make a reasonable effort to comply with the U.S. Trustee’s

requests for information and additional disclosures as set forth in the Guidelines for Reviewing


7   The Engagement Letter permits Kirkland to retain any prepetition advance payment retainer held by Kirkland as
    of the Petition Date rather than applying such prepetition advance payment retainer to pay postpetition fees and
    expenses. In light of the facts and circumstances of these chapter 11 cases, Kirkland will retain any prepetition
    advance payment retainer held by Kirkland as of the Petition Date and will not apply any such amounts to
    postpetition fees and expenses.

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Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by

Attorneys in Larger Chapter 11 Cases Effective As of November 1, 2013 (the “Revised UST

Guidelines”), both in connection with this application and the interim and final fee applications to

be filed by Kirkland in these chapter 11 cases.

                  Attorney Statement Pursuant to Revised UST Guidelines

       18.             The following is provided in response to the request for additional

information set forth in Paragraph D.1. of the Revised UST Guidelines:

               a. Question: Did Kirkland agree to any variations from, or alternatives to,
                  Kirkland’s standard billing arrangements for this engagement?

                   Answer: No. Kirkland and the Debtors have not agreed to any variations from,
                   or alternatives to, Kirkland’s standard billing arrangements for this
                   engagement. The rate structure provided by Kirkland is appropriate and is not
                   significantly different from (a) the rates that Kirkland charges for other
                   non-bankruptcy representations or (b) the rates of other comparably skilled
                   professionals.

               b. Question: Do any of the Kirkland professionals in this engagement vary their
                  rate based on the geographic location of the Debtors’ chapter 11 cases?

                   Answer: No. The hourly rates used by Kirkland in representing the Debtors
                   are consistent with the rates that Kirkland charges other comparable chapter 11
                   clients, regardless of the location of the chapter 11 case.

               c. Question: If Kirkland has represented the Debtors in the 12 months prepetition,
                  disclose Kirkland’s billing rates and material financial terms for the prepetition
                  engagement, including any adjustments during the 12 months prepetition. If
                  Kirkland’s billing rates and material financial terms have changed postpetition,
                  explain the difference and the reasons for the difference.




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                      Answer: Kirkland’s current hourly rates for services rendered on behalf of the
                      Debtors range as follows: 8

                                Billing Category                   U.S. Range
                                     Partners                     $1,075-$1,845
                                   Of Counsel                      $625-$1,845
                                    Associates                     $610-$1,165
                                Paraprofessionals                   $245-$460

                      Kirkland represented the Debtors from January 1, 2019 to December 31, 2019,
                      using the hourly rates listed below.

                                Billing Category                   U.S. Range
                                     Partners                     $1,025-$1,795
                                   Of Counsel                      $595-$1,705
                                    Associates                     $595-$1,125
                                Paraprofessionals                   $235-$460

                 d. Question: Have the Debtors approved Kirkland’s budget and staffing plan,
                    and, if so, for what budget period?

                      Answer: Yes, for the period from the Petition Date through July 7, 2020.

                                        Kirkland’s Disinterestedness

        19.      In connection with its proposed retention by the Debtors in these chapter 11 cases,

Kirkland undertook to determine whether it had any conflicts or other relationships that might

cause it not to be disinterested or to hold or represent an interest adverse to the Debtors.

Specifically, Kirkland obtained from the Debtors and their representatives the names of individuals

and entities that may be parties in interest in these chapter 11 cases (the “Potential Parties in

Interest”) and such parties are listed on Schedule 1 hereto. Kirkland has searched on its electronic

database for its connections to the entities listed on Schedule 1 hereto. In addition, after Kirkland

identified all client connections with the parties in interest over a specified time period, Kirkland




8   While the rate ranges provided for in this Application may change if an individual leaves or joins Kirkland, and
    if any such individual’s billing rate falls outside the ranges disclosed above, Kirkland does not intend to update
    the ranges for such circumstances.

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circulated a survey email to all Kirkland attorneys who billed 10 or more hours to such clients

during the prior six years. Further, beyond the individual emails, Kirkland sent a daily report of

new matters firm-wide. All Kirkland attorneys are responsible for reviewing the daily report of

new matters and raising any potential concerns with respect to new representations. The Debtors

did not receive any answers in the affirmative to these emails. Additionally, to the extent that I

have been able to ascertain that Kirkland has been retained within the last three years to represent

any of the Potential Parties in Interest (or their affiliates, as the case may be) in matters unrelated

to these cases, such facts are disclosed on Schedule 2 attached hereto.

        20.       Kirkland and certain of its partners and associates may have in the past represented,

may currently represent, and likely in the future will represent, entities that may be parties in

interest in these chapter 11 cases in connection with matters unrelated (except as otherwise

disclosed herein) to the Debtors and these chapter 11 cases. Kirkland has searched on its electronic

database for its connection to the entities listed on Schedule 1 attached hereto. The information

listed on Schedule 1 may have changed without our knowledge and may change during the

pendency of these chapter 11 cases. Accordingly, Kirkland will update this Declaration as

necessary and when Kirkland becomes aware of additional material information. The following

is a list of the categories that Kirkland has searched:9

Schedule       Category
1(a)           Known Debtor Affiliates
1(b)           Director/Officer
1(c)           Significant Shareholders
1(d)           Bankruptcy Judges
1(e)           Bankruptcy Professionals/Ordinary Course Professionals
1(f)           Banks/Bondholders/Purported Secured Creditors/Administrative Agents
1(g)           Top Vendors

9   Kirkland’s inclusion of parties in the following Schedules is solely to illustrate Kirkland’s conflict search process
    and is not an admission that any party has a valid claim against the Debtors or that any party properly belongs in
    the schedules or has a claim or legal relationship to the Debtors of the nature described in the schedules.

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1(h)            Governmental/Regulatory Agencies/Unions
1(i)            Insurance/Surety Bonds
1(j)            Investment Banker
1(k)            Landlords
1(l)            Litigation
1(m)            Significant Customers
1(n)            U.S. Trustee Office Personnel
1(o)            Utilities


         21.       To the best of my knowledge, (a) Kirkland is a “disinterested person” within the

meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of the

Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates and

(b) Kirkland has no connection to the Debtors, their creditors, or other parties in interest, except

as may be disclosed in this Declaration.

         22.       Listed on Schedule 2 to this Declaration are the results of Kirkland’s conflicts

searches of the above-listed entities.10 For the avoidance of doubt, Kirkland will not commence a

cause of action in these chapter 11 cases against the entities listed on Schedule 2 that are current

clients of Kirkland (including entities listed below under the “Specific Disclosures” section of this

Declaration) unless Kirkland has an applicable waiver on file or first receives a waiver from such

entity allowing Kirkland to commence such an action. To the extent that a waiver does not exist




10   As referenced in Schedule 2, the term “current client” means an entity listed as a client in Kirkland’s conflicts
     search system to whom time was posted in the 12 months preceding the Petition Date. As referenced in
     Schedule 2, the term “former client” means an entity listed as a client in Kirkland’s conflicts search system to
     whom time was posted between 12 and 36 months preceding the Petition Date. As referenced in Schedule 2, the
     term “closed client” means an entity listed as a client in Kirkland’s conflicts search system to whom time was
     posted in the 36 months preceding the Petition Date, but for which the client representation has been closed.
     Whether an actual client relationship exists can only be determined by reference to the documents governing
     Kirkland’s representation rather than its potential listing in Kirkland’s conflicts search system. The list generated
     from Kirkland’s conflicts search system is over-inclusive. As a general matter, Kirkland discloses connections
     with “former clients” or “closed clients” for whom time was posted in the last 36 months, but does not disclose
     connections if time was billed more than 36 months before the Petition Date.


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or is not obtained from such entity and it is necessary for the Debtors to commence an action

against that entity, the Debtors will be represented in such particular matter by conflicts counsel.

         23.      Of the entities listed on Schedule 2, only one, The Blackstone Group, Inc.,

represented more than one percent of Kirkland’s fee receipts for the twelve months preceding the

Petition Date.11 The Blackstone Group is an affiliate of Solus Alternative Asset Management LP

(“Solus”), one of the Debtors’ shareholders and bondholders.

         24.      Kirkland’s conflicts search of the entities listed on Schedules 1(a) – 1(o) (that

Kirkland was able to locate using its reasonable efforts) reveals, to the best of my knowledge, that

those Kirkland attorneys and paraprofessionals who previously worked at other law firms that

represented such entities in these chapter 11 cases have not worked on matters relating to the

Debtors’ restructuring efforts while at Kirkland.

         25.      Based on the conflicts search conducted to date and described herein, to the best of

my knowledge, neither I, Kirkland, nor any partner or associate thereof, insofar as I have been able

to ascertain, have any connection with the Debtors, their creditors, or any other parties in interest,

their respective attorneys and accountants, the United States Trustee for the Southern District of

Texas (the “U.S. Trustee”), any person employed by the U.S. Trustee, or any Bankruptcy Judge

currently serving on the United States Bankruptcy Court for the Southern District of Texas, except

as disclosed or otherwise described herein.

         26.      Kirkland will review its files periodically during the pendency of these chapter 11

cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

relevant facts or relationships are discovered or arise, Kirkland will use reasonable efforts to




11   Specific percentages will be disclosed to the U.S. Trustee upon request.

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identify such further developments and will promptly file a supplemental declaration, as required

by Bankruptcy Rule 2014(a).

        27.     Generally, it is Kirkland’s policy to disclose entities in the capacity that they first

appear in a conflicts search. For example, if an entity already has been disclosed in this Declaration

in one capacity (e.g., a customer), and the entity appears in a subsequent conflicts search in a

different capacity (e.g., a vendor), Kirkland does not disclose the same entity again in supplemental

declarations, unless the circumstances are such in the latter capacity that additional disclosure is

required.

        28.     From time to time, Kirkland has referred work to other professionals to be retained

in these chapter 11 cases. Likewise, certain such professionals have referred work to Kirkland.

        29.     Certain insurance companies pay the legal bills of Kirkland clients. Some of these

insurance companies may be involved in these chapter 11 cases. None of these insurance

companies, however, are Kirkland clients as a result of the fact that they pay legal fees on behalf

of Kirkland clients.

                                         Specific Disclosures

        30.     As specifically set forth below and in the attached exhibits, Kirkland represents

certain of the Debtors’ creditors, equity security holders, or other entities that may be parties in

interest in ongoing matters unrelated to the Debtors and these chapter 11 cases. None of the

representations described herein are materially adverse to the interests of the Debtors’ estates.

Moreover, pursuant to section 327(c) of the Bankruptcy Code, Kirkland is not disqualified from

acting as the Debtors’ counsel merely because it represents certain of the Debtors’ creditors, equity

security holders, or other entities that may be parties in interest in matters unrelated to these chapter

11 cases.

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A.     Connections to Holders of Equity Interests in the Debtors.

       31.   As disclosed in Schedule 2 attached hereto, certain of the Debtors’ debt and equity

holders are current, former, or closed clients of Kirkland. All current or prior representations of

the Debtors’ equity holders have been unrelated to the Debtors and these chapter 11 cases.

       32.   As disclosed in Schedule 2 attached hereto, Kirkland currently represents, and in the

past has represented, Solus on a variety of matters. Solus owns approximately 4.8% of the equity

interests in Hornbeck Offshore Services, Inc. (as of April 21, 2020) and certain of the Debtors’

unsecured notes. Kirkland’s representation of Solus accounted for less than one percent of

Kirkland’s fee receipts for the twelve-month period preceding the Petition Date. All current or

prior Kirkland representations of Solus have been in matters unrelated to the Debtors or these

chapter 11 cases. I do not believe Kirkland’s current or former representations of Solus preclude

Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

B.     Connections to Restructuring Support Agreement Parties

       33.   As disclosed in Schedule 2 attached hereto, Kirkland currently represents, and in the

past has represented, each of Solus, Morgan Stanley & Co, LLC, Ares Management LLC, Canyon

Capital Advisors LLC, Citigroup Global Markets Inc., Oak Hill Advisors LP, Highbridge Capital

Management LLC, Bank of America NA, and/or certain of their subsidiaries and affiliates

(collectively, the “RSA Parties”) in a variety of matters. The RSA Parties are holders of the

Debtors’ unsecured notes or secured debt. Kirkland’s representations of each of the RSA Parties

accounted for less than one percent of Kirkland’s fee receipts for the twelve-month period

preceding the Petition Date. Kirkland has not represented and will not represent the RSA Parties

in connection with any matter in these chapter 11 cases.         All current or former Kirkland

representations of each of the RSA Parties have been in matters unrelated to the Debtors and these


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chapter 11 cases. I do not believe Kirkland’s current or former representations each of the RSA

Parties preclude Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

C.      Connections to Certain Financial Counterparties

        34.   As disclosed in Schedule 2 attached hereto, Kirkland currently represents, and has

formerly represented, certain entities which comprise one or more of the following:                (a) a

noteholder or prepetition lender to the Debtors; (b) an entity with which the Debtors have a banking

relationship; or (c) an agent under the Debtors’ prepetition credit facility and/or certain of their

affiliates (collectively the “Financial Counterparties”) in a variety of matters.

        35.   All current or prior representations of the Financial Counterparties have been in

matters unrelated to the Debtors or these chapter 11 cases. I do not believe that Kirkland’s current

or former representations of the Financial Counterparties preclude Kirkland from meeting the

disinterestedness standard under the Bankruptcy Code.

D.      Connections to Other Entities.

        36.   As disclosed in Schedule 2 attached hereto, certain Debtor customers in these

chapter 11 cases are current or former Kirkland restructuring clients, including McDermott

International, Inc. and/or certain of their affiliates (the “Customers”). Certain of the Debtors or

their non-Debtor affiliates or other entities associated with the Debtors are creditors of entities that

Kirkland currently represents or has represented in bankruptcy proceedings or post-effective date

claims processes. Kirkland will not represent the Debtors, the Debtors’ non-Debtor affiliates, or

other entities associated with the Debtors in any matter related to the Customers’ restructuring

matters. Similarly, Kirkland will not represent the Customers against the Debtors in any of the

Customers’ restructuring matters. I do not believe Kirkland’s current or former representations of




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the Customers precludes it from meeting the disinterestedness standard under the Bankruptcy

Code.

E.        Other Chapter 11 Professionals.

          37.      As disclosed in Schedule 2 attached hereto, Kirkland currently represents, and

formerly has represented, certain affiliates, subsidiaries, and entities associated with various

professionals that the Debtors seeks to retain in connection with these chapter 11 cases. All current

or former Kirkland representations of these professionals have been in matters unrelated to the

Debtors and these chapter 11 cases. Kirkland has not represented and will not represent any such

professionals in connection with any matter in these chapter 11 cases. I do not believe that

Kirkland’s current or former representations of these professionals preclude it from meeting the

disinterestedness standard under the Bankruptcy Code.

          38.   On May 20 2020, the Court approved Stretto (together with its affiliate Stone Point

Capital LLC, “Stretto”) as the Debtors’ notice and claims agent.12 As disclosed in Schedule 2

attached hereto, Kirkland currently represents, and in the past has represented, Stretto in a variety

of matters. All current or prior Kirkland representations of Stretto have been in matters unrelated

to the Debtors or these chapter 11 cases. I do not believe that Kirkland’s current or former

representations of Stretto preclude Kirkland from meeting the disinterestedness standard under the

Bankruptcy Code.

          39.   The Debtors’ proposed investment banker and financial advisor is Guggenheim

Securities, LLC (together with its direct and indirect affiliates, “Guggenheim”). As disclosed in

Schedule 2 attached hereto, Kirkland currently represents, and in the past has represented,



12   See Order Authorizing the Retention and Appointment of Stretto as Claims, Noticing, and Solicitation Agent for
      the Debtors [Docket No. 31].

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Guggenheim and certain of its direct or indirect affiliates in a variety of matters. All current or

prior Kirkland representations of Guggenheim have been in matters unrelated to the Debtors or

these chapter 11 cases. I do not believe that Kirkland’s current or former representations of

Guggenheim preclude Kirkland from meeting the disinterestedness standard under the Bankruptcy

Code.

        40.   The Debtors’ proposed independent tax advisor is Ernst & Young LLP (together with

its direct and indirect affiliates, “E&Y”). As disclosed in Schedule 2 attached hereto, Kirkland

currently represents, and in the past has represented, E&Y and certain of its direct or indirect

affiliates in a variety of matters. All current or prior Kirkland representations of E&Y have been

in matters unrelated to the Debtors or these chapter 11 cases. I do not believe that Kirkland’s

current or former representations of E&Y preclude Kirkland from meeting the disinterestedness

standard under the Bankruptcy Code.

F.      Kirkland Attorney and Employee Investments.

        41.    From time to time, Kirkland partners, of counsel, associates, and employees

personally invest in mutual funds, retirement funds, private equity funds, venture capital funds,

hedge funds, and other types of investment funds (the “Investment Funds”), through which such

individuals indirectly acquire an interest in debt or equity securities of many companies, one of

which may be one of the Debtors, their creditors, or other parties in interest in these chapter 11

cases, often without Kirkland’s knowledge. Each Kirkland person generally owns substantially

less than one percent of such Investment Fund, does not manage or otherwise control such

Investment Fund, and has no influence over the Investment Fund’s decision to buy, sell, or vote

any particular security. The Investment Fund is generally operated as a blind pool, meaning that

when the Kirkland persons make an investment in the Investment Fund, he, she, or they do not

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know what securities the blind pool Investment Fund will purchase or sell, and have no control

over such purchases or sales.

       42.     From time to time one or more Kirkland partners and of counsel voluntarily choose

to form an entity (a “Passive-Intermediary Entity”) to invest in one or more Investment Funds.

Such Passive-Intermediary Entity is composed only of persons who were Kirkland partners and of

counsel at the time of the Passive-Intermediary Entity’s formation (although some may later

become former Kirkland partners and of counsel). Participation in such a Passive-Intermediary

Entity is wholly voluntary and only a portion of Kirkland’s partners and of counsel choose to

participate. The Passive-Intermediary Entity generally owns substantially less than one percent of

any such Investment Fund, does not manage or otherwise control such Investment Fund, and has

no influence over the Investment Fund’s decision to buy, sell, or vote any particular security. Each

Investment Fund in which a Passive-Intermediary Entity invests is operated as a blind pool, so that

the Passive-Intermediary Entity does not know what securities the blind pool Investment Funds

will purchase or sell, and has no control over such purchases or sales.            And, indeed, the

Passive-Intermediary Entity often arranges for statements and communications from certain

Investment Funds to be sent solely to a blind administrator who edits out all information regarding

the identity of the Investment Fund’s underlying investments, so that the Passive-Intermediary

Entity does not learn (even after the fact) the identity of the securities purchased, sold, or held by

the Investment Fund. To the extent the Passive-Intermediary Entity is or becomes aware of the

identity of the securities purchased, sold, or held by the Investment Funds (“Known Holdings”),

such Known Holdings are submitted to Kirkland’s conflict checking system.

       43.     From time to time, Kirkland partners, of counsel, associates, and employees

personally directly acquire a debt or equity security of a company which may be (or become) one

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of the Debtors, their creditors, or other parties in interest in these chapter 11 cases. Kirkland has

a long-standing policy prohibiting attorneys and employees from using confidential information

that may come to their attention in the course of their work, so that all Kirkland attorneys and

employees are barred from trading in securities with respect to which they possess confidential

information.

G.     Former Clerks.

       44.     The following Kirkland employees had clerkships in the United States Bankruptcy

Court for the Southern District of Texas during the last three years (together, the “Former Clerks”):

       45.      Anna E. Swanson, a Kirkland associate, was a law clerk for the Honorable Alfred

H. Bennett of the United States Bankruptcy Court for the Southern District of Texas from

August 2017 until August 2019. Ms. Swanson began working at Kirkland in April 2019 and had

no connection with the Debtors’ chapter 11 cases while working for the court.

       46.      Camille E. Peeples, a Kirkland associate, was a law clerk for the Honorable

Andrew S. Hanen of the United States Bankruptcy Court for the Southern District of Texas from

2018 until 2019. Ms. Peeples began working at Kirkland in September 2019 and had no connection

with the Debtors’ chapter 11 cases while working for the court

       47.     Mya L. Johnson, a Kirkland associate, was a law clerk for the Honorable Stephen

Smith of the United States District Court for the Southern District of Texas from August 2017 to

July 2018. Ms. Johnson began working at Kirkland in September 2018 and had no connection

with the Debtors’ chapter 11 cases while working for the court.

       48.      I do not believe that the Former Clerks’ work for the court precludes Kirkland from

meeting the disinterestedness standard under the Bankruptcy Code.



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H.     Other Disclosures.

       49.     Finally, certain interrelationships exist among the Debtors. Nevertheless, the

Debtors have advised Kirkland that the Debtors’ relationships to each other do not pose any

conflict of interest because of the general unity of interest among the Debtors. Insofar as I have

been able to ascertain, I know of no conflict of interest that would preclude Kirkland’s joint

representation of the Debtors in these chapter 11 cases.

       50.     The spouse of Kirkland partner Helen E. Witt, P.C. is a managing director of

JPMorgan Chase & Co (together with its affiliates, “JPMorgan”). The Debtors have a banking

relationship with JPMorgan. Out of an abundance of caution, Kirkland has instituted formal

screening measures to screen Ms. Witt from all aspects of Kirkland’s representation of the Debtors.

       51.     James H.M. Sprayregen, a Kirkland partner, worked as an attorney at Kirkland from

July 1990 until June 2006 and rejoined the firm in December 2008. From June 2006 until

December 2008, prior to rejoining the firm, Mr. Sprayregen was co-head of the restructuring group

of Goldman Sachs Americas, where he advised U.S. and international clients in restructuring and

distressed situations. Certain affiliates of Goldman Sachs are holders of bonds in the Debtors. As

described above, Goldman Sachs is a client of the firm and disclosed on Schedule 1(f) attached

hereto. I do not believe that Mr. Sprayregen’s prior employment at Goldman Sachs precludes

Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

       52.     Furthermore, prior to joining Kirkland, certain Kirkland attorneys represented

clients adverse to Kirkland’s current and former restructuring clients. Certain of these attorneys

(the “Screened Kirkland Attorneys”) will not perform work in connection with Kirkland’s

representation of the Debtors and will not have access to confidential information related to the

representation. Kirkland’s formal ethical screen provides sufficient safeguards and procedures to

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prevent imputation of conflicts by isolating the Screened Kirkland Attorneys and protecting

confidential information.

       53.     Under Kirkland’s screening procedures, Kirkland’s conflicts department distributes

a memorandum to all Kirkland attorneys and legal assistants directing them as follows: (a) not to

discuss any aspects of Kirkland’s representation of the Debtors with the Screened Kirkland

Attorneys; (b) to conduct meetings, phone conferences, and other communications regarding

Kirkland’s representation of the Debtors in a manner that avoids contact with the Screened

Kirkland Attorneys; (c) to take all measures necessary or appropriate to prevent access by the

Screened Kirkland Attorneys to the files or other information related to Kirkland’s representation

of the Debtors; and (d) to avoid contact between the Screened Kirkland Attorneys and all Kirkland

personnel working on the representation of the Debtors unless there is a clear understanding that

there will be no discussion of any aspects of Kirkland’s representation of the Debtors.

Furthermore, Kirkland already has implemented procedures to block the Screened Kirkland

Attorneys from accessing files and documents related to the Debtors that are stored in Kirkland’s

electronic document managing system.

                            Affirmative Statement of Disinterestedness

       54.     Based on the conflicts search conducted to date and described herein, to the best of

my knowledge and insofar as I have been able to ascertain, (a) Kirkland is a “disinterested person”

within the meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of

the Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates

and (b) Kirkland has no connection to the Debtors, their creditors, or other parties in interest,

except as may be disclosed herein.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

 Dated: May 26, 2020                             Respectfully submitted,

                                                 /s/ Ryan Blaine Bennett
                                                Ryan Blaine Bennett
                                                as President of Ryan Blaine Bennett, P.C., as
                                                Partner of Kirkland & Ellis LLP; and as Partner
                                                of Kirkland & Ellis International LLP




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                                            SCHEDULE 1
       The following lists contain the names of reviewed entities as described more fully in the
Declaration of Ryan Blaine Bennett in Support of the Debtors’ Application for the Entry of an
Order Authorizing the Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis
International LLP as Attorneys for the Debtors and Debtors in Possession Effective as of
May 19, 2020 (the “Bennett Declaration”).1 Where the names of the entities reviewed are
incomplete or ambiguous, the scope of the search was intentionally broad and inclusive, and
Kirkland & Ellis LLP and Kirkland & Ellis International LLP reviewed each entity in its records,
as more fully described in the Bennett Declaration, matching the incomplete or ambiguous name.

                                            List of Schedules

Schedule      Category
1(a)          Known Debtor Affiliate
1(b)          Director/Officer
1(c)          Shareholders
1(d)          Bankruptcy Judges
1(e)          Bankruptcy Professionals/Ordinary Course Professionals
1(f)          Banks/Bondholders/Purported Secured Creditors/Administrative Agents
1(g)          Top Vendors
1(h)          Governmental/Regulatory Agencies/Unions
1(i)          Insurance/Surety Bonds
1(j)          Investment Banker
1(k)          Landlords
1(l)          Litigation
1(m)          Significant Customers
1(n)          U.S. Trustee Office
1(o)          Utilities




1   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Bennett
    Declaration.
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                                  SCHEDULE 1(a)
                                Known Debtor Affiliate

Energy Services Puerto Rico LLC
HOI Holding LLC
HON Navegacao II Ltda.
Hornbeck Offshore (Trinidad & Tobago) Ltd.
Hornbeck Offshore Cayman Ltd.
Hornbeck Offshore International LLC
Hornbeck Offshore Navegacao Ltda.
Hornbeck Offshore Operators de Mexico S. de RL de CV
Hornbeck Offshore Operators LLC
Hornbeck Offshore Rigging Services & Equipment LLC
Hornbeck Offshore Services de Mexico S. de RL de CV
Hornbeck Offshore Services Inc.
Hornbeck Offshore Services LLC
Hornbeck Offshore Specialty Services LLC
Hornbeck Offshore Transportation LLC
Hornbeck Offshore Trinidad & Tobago LLC
HOS de Mexico II S. de RL de CV
HOS de Mexico III S. de RL de CV
HOS de Mexico S. de RL de CV
HOS Holding LLC
HOS International Inc.
HOS Leasing de Mexico SA de CV SOFOM ENR
HOS Port II LLC
HOS Port LLC
HOS Wellmax Services LLC
HOS-IV LLC
KMS 124 LLC
Seahorse Crew Management Ltd.
TN Percheron S. de RL de CV
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                                SCHEDULE 1(b)
                                 Director/Officer

Alfaro Perez, Eduardo Enrique
Annessa, Carl G.
Cook, John
Gang, Rob
Giberga, Samuel A.
Harp, James O.
Hornbeck, Larry
Hornbeck, Todd M.
Hunt, Bruce
Krablin, Steve
McCarthy, Timothy P.
Melcher, Patricia B.
Meyers, Kevin O.
Myrtue, Mark S.
Parker, R. Clyde, Jr.
Persad, Andre
Persad, Fletch
Persad, Gangacharan
Persad, Nischol
Stewart, Bernie
Swyka, Nicholas L.
Trice, David A.
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                                    SCHEDULE 1(c)
                                      Shareholders

Brennan, Ray
Canary SC Fund LP
Carrabba, Cherie
Cede & Co.
Cyrus Capital Partners LP
DC Capital Partners LP
Denny, Joel Gregory
FC Investments & Trust PLC
Fine Capital Partners LP
Graff, Nathaniel C.
Grenader, David A.
GTS Securities LLC
Hamer, Gary
Harp, James O., Jr.
Holbrook, Kevin
Hornbeck, Larry D.
Hornbeck, Todd M.
Hornbeck, Troy A.
Kachalsky, Alan N.
Klein, Maria Whitmore
Lane, Rumiko L.
Mackenzie Financial Corp.
Melcher, Patricia B.
Mills, Andrew D.
Ordogne, Paul M.
Parker, R. Clyde, Jr.
Parr, Allan T., Jr.
Whitcher, Bonnie A.
Whitcher, Jonathan
William Herbert Hunt Trust Estate
Wolf, Marshall
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                             SCHEDULE 1(d)
                             Bankruptcy Judges

Isgur, Marvin
Jones, David R.
Lopez, Chris
Norman, Jeffrey P.
Rodriguez, Eduardo V.
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                                    SCHEDULE 1(e)
                 Bankruptcy Professionals/Ordinary Course Professionals

Amegy Investments Inc.
American Express Co.
American Payroll Association
Brown Rudnick LLP
Cahu Consultoria Empresarial S/S Ltda.
Cameron & Shepherd
Databras Informatica Ltda.
Davis Polk & Wardwell LLP
Dennard Lascar Associates LLC
Ducera Partners LLC
Ernst & Young LLP
Galloway Johnson Thopkins Burr & Smith
Haynes & Boone LLP
Holland & Knight LLP
Jackson Walker L.L.P.
Junta Comercial do Estado
King & Jurgens LLC
Law Offices of Carl Kincaid
Mayer Brown LLP
Milbank LLP
MMW Group LLC
Moelis & Co.
Morelewicz, James F.
Oppenheimer & Co. Inc.
Paul Weiss Rifkind Wharton & Garrison LLP
Pemom Auditores
Planus Contabilidade
Portage Point Partners
Posthlethwaite & Netterville
Proxy Services Corp.
Pugh Accardo Haas Radecker
Ross F. Lagarde APLC
Schonekas Evans McGoey & McEachin LLC
Sidley Austin LLP
Standard & Poor's LLC
Stillwater Property & Casualty Insurance Co.
West LLC
Winstead PC
Wolters Kluwer NV
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                                   SCHEDULE 1(f)
         Banks/Bondholders/Purported Secured Creditors/Administrative Agents

Achenbach, R. Timothy                        Banco Bradesco SA
Ackerman, David A.                           Banco Itau BBA SA
Adinolfi, David W.                           Bank of America Merrill Lynch
Afuso, James T.                              Bank of America NA
Ahmed, Irfan Munir                           Banque Lombard Odier & Cie SA
Aingorn, Michael                             Barclays plc
Aitonas International Corp.                  Bareddy, Venkata RR
Alarcon, Gabriel Flores                      Barone, Joseph S.
Alexander, John Samuel                       Bassette, Jeffrey
Allen, Christopher J.                        Bastien, Arnaud
Allen, John H.                               Bastien, Maria
Alligator Fields Enterprises Inc.            Baykal, Berkay
Almeda, Brett Elson                          Baylah Wolfe & Julie Lenner Trust
Alsobrook, Alice Lynn                        Baylin, Ori
Altana Distressed Opportunities Fund SLP     Bayliss, Henry J.
Amber Reed Corp.                             Baytman, Alexander L.
Ameriprise Trust Co.                         Bean, Clarke Lee
Amin, Biraj D.                               Beard, Leslie
Anderson, David W.                           Bell, Gerald
Anderson, Kimberlee S.                       Bendzuch, Judith A.
Anzola Dominguez, Cesar Enrique              Benedetto, Warren M.
Apoian, Phil E.                              Benner, Susan S.
Ares Management LLC                          Benny P. Phillips Enterprises Ltd.
Aristeia Capital LLC                         Benson, Douglas W.
Aristeia Master LP                           Bergeron, Paul R.
Arnold, Walter T.                            Bergeron, Robert J.
Arnold, William W.                           Bertsch, Mark A.
ASIG International Ltd.                      Bevill State Community College
Askin, Rosemary A.                           Bhatt, Ashok V.
ASN                                          Binder, Benjamin L.
Asnis, Saul                                  Bisson, Faulcon L., Jr.
Asuka, Elsie S.                              Blackrock Fund Advisors
Athavale, Manoj V.                           Blakely, Lester P.
Athilon Capital Corp. LLC                    Blanchard, David L.
Athon Family Investments LP                  Blanche Howard Family LP
Aulen, Anna                                  Blasini de Velasco, Javier F.
Avila Investment Group Inc.                  Blechschmidt, Edward A.
Azaransky, Jacquelin                         Blessinger, Wally L.
B. Riley FBR Inc.                            Blue Skies Enterprises Ltd.
Baldwin, Margaret                            BNY Mellon Asset Management North
Ballis, Robert J.                               America Corp.
Balsamo, Daniel                              BNY Mellon NA
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Boerner, Rebecca A.                     Carney, John F.
Bonaminio, Alfred M.                    Carroll, Monty B.
Bondurant Management LLC                Carter, Jon Christopher
Bondurant Partners LP                   Cassidy, Eric S.
Bonner, Jeffrey Lyon                    Cater, Ann D.
Bono, Joseph A.                         CCComplete Inc.
Bono, Joseph Albert                     Cebuhar, Michael
Borges, Anthony M., Jr.                 Ceccarelli, Frank E.
Boscarolo Hernandez, Juan G.            Centerbridge Partners LP
Boshart, Wesley J.                      Charles Schwab Bank
Boyd, John K.                           Cheatham, Gilbert D.
Brandwein, Margaret                     Chen, Katherine
Brizel, Barry E.                        Chen, Mingzhu
Brocato, Paulette U.                    Chiantella, Noel Michael
Brown, Daniel R.                        Chin, Henry H.
Brown, Dwayne                           Choi, Paul
Brown, Kathryn J.                       Chokhani, Aditya S.
Brown, Larry                            Choury, Mark J.
Brownstone Investment Group LLC         Choyke, Christopher Ford
Bruce, James M.                         Cindric, John F.
Brunet, Alexis                          CIT Group Inc.
Brunet, Marta                           Citi Retirement Account
Brunton, Paul W.                        Citigroup Financial Products Inc.
Budnick, Cheryl A.                      Citigroup Global Markets Inc.
Budnick, John A., III                   Citigroup Inc.
Buechler, Jerold                        Clark, David Lawrence
Buehring, Klaus-Dieter                  Clark, Maxine
Buehring, Michelle                      Clark, Ron
Burden, Jay W.                          Clement, Louis J.
Burge, Warren                           Clemetson, Donald Thomas
Burgess, Thaddeus D., Jr.               Clickner, Glen T.
Burns, Kenton Leroy                     Clifford, John
Burton, Barbra                          Close, Montgomery B.
Burton, Ronnie                          CNS SIAC Clearing Omnibus
Bussy, Stephane                         Coburn, Kelly
Butkovich, Richard Allan                Codner, Clay G.
Butler, Alan Michael                    Cohen, Dhana
Buzan, Francis E.                       Cole, Garry
Byrne, Ursula M.                        Collier, Robert L.
Campion, Chris                          Collins, Guy H.
Canaccord Genuity Group Inc.            Conflict Management Institute
Canavan, Lawrence                       Corbo, Stephanie
Cannon, Gary L.                         Cordeiro, Linda
Canyon Capital Advisors LLC             Couch, Michael J.
Capital One NA                          Courtney, Harry
Cardinale, Robert G.                    Cox, Suzanne Elaine
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Crittenden, David B.                    Edward Jones Trust Co.
Cross, Linda J.                         Ehmann, Patrick
Crute, Stephen W.                       Ehrich, J. Craig
Cruz, Luis R., Jr.                      Eilbert, James L.
D&S Capital LLC                         Eitzen, William
Dadetta, David A.                       Ellenberg, Philip L.
Dadetta, Laura E.                       Ellenberger, David James
Daley, Brian K.                         Elmwier Cemetery Association Inc.
Daniel, William C.                      Elze, Martin J.
Davidson, Charles R.                    Embrey, Glenn
Davis, Dolores B.                       Emergency Physicians of Springfield
DBX Advisors LLC                        Emick, Sharen Patricia
De Gavizon, Ana Benarroch               Espinoza Guede, Lorena D.
De Oneto, Ana Maria Suberbie            Espinoza Guerra, Armando Jose
Dejohn, Paschal B.                      Eustache, Dominique R.
Dengler, Janice R.                      Evans, John O.
Denny, Richard W.                       Everest Reinsurance (Bermuda) Ltd.
Desai, Amish S.                         Fadelli, Anthony
Devine, Paul T.                         Falconer, Ramsey Reid
DIAF Operations Inc.                    Falk, Benjamin J.
Dickey, John R.                         Family Capital Corp.
Dicus, Timothy M.                       Famulla, Rainer
Diehl, Gregory C.                       Faris, Robert D.
Dignan, Andrew J.                       Farjo, Rafal
Dignan, Susan                           Feinstein, Stanley R.
Dignan, Susan M.                        Fejfar, John J.
Dillon, Cindy B.                        Felix, H. Thomas, II
DNB ASA                                 Fenton, Ira
Dohnert, Donald Douglas                 Fermin, Jimmy Imbrondone
Domitrovits, Frank E.                   Fernwood Associates LLC
Donald H. Ford Trust No.2, The          Ferreira, Jose Martin Lopes
Donaldson, J. Bennett, Jr.              Ferrell, Excell Osborne, III
Donovan, Thomas A.                      First Masonic District of PA
Drew, John B.                           Fischer, Brian A.
Drummond, Hugh F.                       Fischer, Frederic C.
Duffey, Barbara Jean                    Fitzpatrick, Janet
Duffy, Virginia R.                      Flisi, Alexander
Duffy, William J., III                  Florance, Stanley H.
Dumas, Barbara L.                       Florence F. Kunimura Trust
Dupal, Janine C.                        FMT Co. Custodial IRA
Dyer, Javier Fernando                   FMT Co. Custodial IRA Rollover
Dynamic Asset Management Co.            FMT Co. Custodial IRA Substantially Equal
    (Luxembourg) SA                         Periodic Payment
Eads, Richard C.                        FMT Co. Trustee FRP PS A/C
ED&F Man Capital Markets Inc.           FMTC Custodian - IRA BDA
Edward D. Jones & Co. LP                FMTC Custodian - Roth IRA
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FMTC Custodian - Roth IRA Utma          Guiboux, Jean-Paul
FMTC Custodian - Simple                 Haley, Henry M., Jr.
FMTC Trustee                            Hall, Charles A.
Forest Capital Corp.                    Hammel Electric Inc.
Fortenbury, Jean                        Hanchett, Todd
Freedman Living Trust, The              Hancock Whitney Corp.
Friedman, Jack                          Hankic, Feda
Friedrich, Michael C.                   Hannley, Michael F.
Frohn, Jeffrey M.                       Hannley, Ruth I.
Funk, William S.                        Harary, Terri
Gable, David                            Harms, Gerhard H.
Gaborik, Marian                         Harper, James Thomas
Gagen, Yvonne                           Harris, Rob A.
Gallagher, Cornelius T.                 Harris, Charles C.
Gann, Don M.                            Hartfelder, Henry D.
Garrett, Craig L.                       Harth, J. Timothy
Gaskill, Carol Jeanne                   Hartley, Jo Kristina
George, Greg                            Hartley, Michael Carl
Gere, Jeffrey A.                        Haviland, Robert A.
Gerstel, Harvey                         Heath, Alice B.
Gilbert, Francis Bacon, Jr.             Heath, Allan L.
Glasgow, Lola                           Heckrotte, Rita W.
Glasgow, William                        Hedden Charitable Trust
Glenn & Lola Embrey Living Trust        Hedman, James Richard
Gold, Mitchel V.                        Hefetz, Oren
Goldman Sachs & Co.                     Hellemeyer, William John
Goldman Sachs Lending Partners LLC      Hembrock, Jeffrey V.
Goldman, Leonard                        Hendel, Jorge
Gomez, Jaime Andres                     Henderson, Scott
Gomez, Maria Camila                     Herman, Laurie David
Gonzalez Tovar, Yoraima Jerhsy          Hermes, Jerald Wayne
Goodall, William D.                     Hernandez, Yanny Difebbo
Goodman, Mark C.                        Higgins, Laura A.
Govett, Gregg S.                        High Yield Bond Fund, a Series of 525
Graham, Donald L.                           Market Street Fund LLC
Graham, Gordon D.                       Highbridge Capital Management LLC
Green, Alyse Peggy                      Highflyer Investments Ltd.
Green, Michael L.                       Hill, Randall C.
Greene, James S.                        Hillard, Erin Michael
Grell, Conrad                           Hilltop Securities Inc.
Griffin Inter Vivos Trust 1991          Hinckley, Tyler
Griffin, Michael L.                     Hirsh, Robert B.
Grove, David Anderson, Jr.              Hirt Dennis L.
Grupo Financiero Banamex SA de CV       Hitchman, Nancy Elaine
Guerra, Jose Ramon Espinoza             Hoch, Raymond
Guffey, Jerrie L.                       Hoffman, Joseph Henry
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Hofmann, Susan                                John T. Parker & Michelle EL Trust UA
Hofstadler, Joyce L.                              12/2/2015
Holling, Jesse J.                             John, Noel
Holmes, Chad Edward                           Johnson. Robert D.
Hom, Beverly S.                               Jones, Harry
Homer, Donald A.                              Jones, Thomas H., III
Hongli, Clifford                              JPMorgan Chase & Co. Inc.
Hoogland, John Brian                          JPMorgan Chase Bank NA
Hoogland, Melissa J.                          JPMorgan Chase Commercial Mortgage
Hopkins, David Gary                               Securities Corp.
Hornung, Rebecca D.                           Judy Scarpinato Rollover IRA Td
Hornung, William R.                           JVB Financial Group LLC
Horton, Robert Richard                        K. Rowe Investments LLC
House, Richard                                Kahn, Debra S.
Housing & Urban Development Corp. Ltd.        Kairies, Brant T.
Hsu, Cheng K.                                 Kangles, Ismahen
Huber, Jan Christian                          Kaplinsky, Michael
Huc, Laurent L.                               Karen Bray IRA
Hughes, Jeffrey D.                            Karen G Hopp IRA
Hung Pham Tod                                 Kasik, Lee
Hunter, Jackson                               Keadey, William Adam
Huskey, Michael L.                            Keating, Robert M.
Huss, Anne C.                                 Keller, Brian A.
Ice, Abbie L.                                 Kelly, Melissa M
Ikegami, Machiko                              Kelly, Paul M.
Inman, John P.                                Kenneth E. Haggard Living Trust
Intermarket Corp.                             Kenneth J. Cooke IRA
Invesco Capital Management LLC                Kenny, Christopher
Invesco Global Short Term High Yield          Kestner, Diane E.
    Bond ETF                                  Kestner, Melvin M
Jacobs, Michael                               Ketcham, Braham B.
Jacobs, Russell Scott                         Kevin Ian Rowe Trustee
Jacobson, T.                                  KeyBank NA
Jacobstein, Arthur Ronald                     KeyBank NA Trustee FBO Bugbee+Conkle
Jacoby, Geoffrey                                  Profit Sharing Plan
James Lew Maxwell Revocable Trust             Khanh, Ngo
James P. Scanlon Revocable Trust, The         Kilfoyle, Robert E.
James, Dean                                   Kim D. Kwiatek IRA
Jenkins, Anne H.                              Kim, Steve S.
Jenne, Fredrick B.                            Kingdom Trustee Co. Custodial
Jerry H. Jacobson Revocable Trust U/A         Kirchhoff, Susan
    dated 5/24/1999                           Kirchhoff, Thomas J.
JHF II - U.S. High Yield Bond Fund            Kirk, Thomas E.
JLP Credit Opportunity IDF Series Interests   Kirksey, Virgil V.
    of the SALI Multi-Series Fund LP          Kleine, Bruce Leonard
JLP Credit Opportunity Master Fund Ltd        Kleinman, Gary S.
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Kline, William F.                        Linda E. Hultsch Rollover IRA
Klos, Rosemary                           Lindsey, Tommy G.
Knier, Michael S.                        Linse, Artur
Knox, Thomas E.                          Litow, Joseph M.
Koch, Richard J.                         Litten, Daniel
Koester, Ronald Lee                      Litterst, Claudia
Koll Irwindale Business Center           Liu, Jun
Kollmer, Charles E.                      LMD Consulting LLC
Koppel, George L.                        Loeb, Arielle Lynne
Kosiewicz, Edward L.                     Lois A. Shafman IRA
Kramer, Angela S.                        Lombard Odier Asset Management
Kring, Lucille                               (Switzerland) SA
Kring, Ronald G.                         London, Peter J.
Kubak, Karl                              Long, Bruce T.
Kumabe, Elaine Y.                        Long, Stephen Lynn
Kurt David Zemke Beneficiary IRA         Loretta Clara Vogel Rollover IRA
Labath, Gail                             Loughead, Clyde M.
Laboz, Jason                             Louise E. Zeliff Living Trust
Labrie, Joseph H.                        Loutrel, Charles
Lafontaine Christian Church              Luchtefeld, Jason
Lam, Ying Jennifer                       Lundstrom Enterprises Inc.
Lambi Family Charitable Trust            Lynagh, Gertrud H.
Lamborn, Daniel R.                       Lynch, Jerome Patrick
Land, Charles B.                         M., Friedenberg, Kathleen
Landis, Cathleen Delores                 Ma, Jianxing
Lanier, John E.                          Mabry Donald Ray
Latuda, Frank A., Jr.                    Machen, Byron C.
Laufman, Lauri                           Magee, Peter
Lauren Valentin IRA SEP                  Mahler, Susan
Laurie G. Buchanan Rollover IRA          Majumder, Rahul
Lavender, Joel R.                        Malecka, Irene K.
Lawrenz, Donald Robertson, III           Maloney, Ken
Lawson, Donald O.                        Malora, Daniel
Lebowsky, Michael A                      Malora, Kimberly
Ledvina, Sharlene Ann                    Maltese, Joseph
Lee, Cheryl                              Mangels, Robert H.
Lehman, Roberta                          Mann, John H., Jr.
Leonard, Patricia Poulos                 Mannheimer, Theodore H.
Lesight, Judi                            Manning, Brett
Letcher, Christopher J.                  March Boronat, Manuel Rafael
Levy, Sue S.                             Marcia M. Cronin IRA
Levy, Theodore                           Margaret Roberts Family
Lewis, Erin C.                           Mark Hermann SEP IRA Td Ameritrade
Lewis, Maria L.                          Mark Palaszewski IRA
Liepack, Otfrid G                        Mark Paul Terk Charitable Trust
Liese L. Martin Testamentary Trust       Marote, Claudio, Jr.
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Marra, Dante A.                           Miller, Todd
Marston, Anna M.                          Mills, Lawrence W.
Martinez, Cherie Caryl                    Mills, Willard, III
Masui, Helen T.                           Minard, Raymond
Matta, Isaac I.                           Misch, Josh
Mattson, Douglas                          Mitchell, Tong Man
Maxim Ventures Ltd.                       Mody Alexander Clark Tod
Mayer Tod, Levi J.                        Mohler, John
McCabe, Michael                           Moody, Timothy Edward
Mcclendon, David W.                       Moon, Brent R.
Mccormick, Alice                          Morella Baquero-Camejo Trust, The
McCoy, Michael                            Morgan Stanley & Co. LLC
McDonald, Gregory J.                      Morgan Stanley for the benefit of David K
McDonald, Madonna E.                         Dunigan Revocable Trust
Mcdonough, Bruce A., Sr.                  Morgen, James
Mcdowell, David T.                        Moriarty, Pamela J.
Mcelroy, Richard                          Moroney, Catherine I.
McGregor, Kristin Lee                     Moroz, Irina
McLoughlin, James                         Morrill, Clarence Grant
Mcmurry, Charles K.                       Morris, John A.
McNeese, Mitchell                         Morris, Michael
Meghan M. Moroney Roth IRA Td             Motzer, George R.
Mehringer, Gabe                           Mount San Antonio Community College
Mehringer, Marian                            District
Mengod, Javier                            Mraz, David
Merced Capital LP                         Muhlbaier, David R.
Merced Partners LP                        Munck, Chris
Merced Partners V LP                      Murray, Christopher A.
Mercer QIF Fund PLC                       Mutino, Joseph P.
Mercer QIF Fund PLC - Mercer Investment   Myers, Elizabeth
   Fund 1                                 Myles, John D.
Merces Sousa, Sandra Maria Das            Naguszewski, Robert K.
Merkner, James                            Naik, Manish R.
Merkner, Mary Lou                         Nancy G. Chapin (IRA)
Meyer, Franklin N.                        Napchan, Marcos
Michael & Nancy Klemens 2004 Revocable    Nassau Asset Management LLC
   Trust                                  Nassau Life Insurance Co.
Michael D. Salter IRA                     Natam Management Co. SA
Michels, James E.                         National Financial Services LLC
Michelsen, Jeffrey Scott                  National Financial Services/Fidelity
Miguel Perez Trust                           Management Trust Co. IRA
Milewski Enterprises Inc.                 National Financial Services/Fidelity
Miller, Ray J.                               Management Trust Co. IRA Beneficiary
Miller, Robert T.                            Distribution Account
Miller, Stan                              National Financial Services/Fidelity
Miller, Theresa A.                           Management Trust Co. Rollover IRA
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National Financial Services/Fidelity     Peltekis, James A.
    Management Trust Co. Roth IRA        Pension Administrators Inc.
Natoli, Frank                            Permoda, Dennis J.
Nelson, Earl O.H.                        Peter J. Ewing IRA
Nguyen, Quang N.                         Philip Anthony St. Romain Roth IRA
NHR Family LLC                           Phillips, Howard W.
Nicely, Lesa                             PHL Variable Insurance Co.
Nichols, Clifford W.                     Phoenix Investment Advisors LLC
Nickens, Don                             Pigott, John Stephen
Nishioka, Roland T.                      Pilot, Curtis H.
Niswander, Helen K.                      Pimaceim International Ltd.
Nolan, Edward J., III                    Pipski, John Roger
Noles, Alathia                           Pizzuti, Donato F.
North American Potato Market News        Pizzuti, Marie
Northern Trust Co., The                  Plateau, Pierre
Northern Trust Co., The, as Custodian    Pogyor, Robert L.
Nosse, Richard L.                        Pollak, Karen J.
Oak Hill Advisors LP                     Portafolio de Inversiones PDEI Fondo
Oakes, Renee                                 Bursatil EN USD
O'Connell, Daniel L.                     Potemkin, Peter Eugene
Oglander Living Trust                    Powerplay Enterprises Ltd.
O'Hara, Mandy                            Powers, Mark W.
Olivieri, David                          Prechter, Michael A.
Oppenheimer & Co. Inc.                   Preston, Robert G.
Oswald Donald J.                         Pritchett, Mary L.
Oxenden, Stephen James                   Pritchett, Ronald W.
Oye Investments Inc.                     Private Trust Co., The, Customer IRA
Palmer, Suzanne                          Private Trust Co., The, Customer Rollover
Palmer, Terrell Donahoo                      IRA
Palomino, Esperanza Rodriguez            Private Trust Co., The, Customer SEP IRA
Pandora Select Partners LP               Puckett, Mathew
Papelex MB CA                            Pumilia, Steven Colt
Parke, John T.                           Punt, James Howard
Parker, Benton Clay                      Purdy, G. James
Parker, S Dupree.                        Pyles, Mark
Parliament, David W.                     QH Investment Partners LLC
Parr, Philip R.                          Quear, Irene K.
Pasco, C.                                Quigley, Michael
Pasco, G.                                Quintero, Virginia Pinzon
Patel, Vitthal S.                        R. White & J. White Joint Revocable Living
Paternostro, Sharon B.                       Trust U/A dated 12/6/2006
Patrick Serville IRA                     Rafalski, Larry D.
Paul Holyszko IRA                        Ramaswamy, Kannan
Paul, Marcie                             Ramnath,. Devesh
Pedersen, Robert C.                      Rasmussen, Irene C.
Peitz, David J.                          Rasmussen, Theodore E., Jr.
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Raymond N. Sasaki Roth IRA Td            Rubin, Lisa Ann
Rayna S. Harris IRA Td Ameritrade        Ruch, Ken
Rebhan, Curtis Edward                    Runyon, Charles
Reeves, Richard E., III                  Russell, Harry Hand, III
Regions Bank Corp.                       Russell, Lindsey
Reinking, Gordon                         Ruud, James M.
Reiser, Charles M.                       Ryan, M Seamus
Renda, Robert L.                         SA Real 19 Ltd.
Renner, Thomas R.                        Saer De Venezuela CA
Repoff, Stephen J.                       Saito, Yoko
Republic Bank & Trust Co.                Salentiny, Dustin
Reynolds, Jeannette P.                   Salentiny, Dustin M.
Ribellino, James                         Salinas, Guillermo Eduardo
Richards, Bartlett                       Salvador, John Andrew
Richards, John B.                        Samples, James Larry
Richmond, Leslie Ivan                    Sanders, Sally A.
Riggs, Cecil A.                          Sanders, William
Riggs, Clair Barnett                     Sanko & Clement Family LLC
Rittgers, Courtney                       Sapp, Ernestine S.
Robert Faraci & Donna Faraci Trust       Sarge, William T.
Roberts, Anna M.                         Savage, Stephanie
Robinson, Pamela Lynn,                   Savell, David Brian
Robinson, Roger Leon                     Schifano, Ronald
Robinson, Ronald T.                      Schlank, Billie Ruth
Rodrigues, Vitor                         Schmetter, Randy E.
Rogers, Jack Alan                        Schroeder, Steve A.
Rogowski, Joseph R.                      Schweiger, Joseph I.
Rohr, Roger W.                           Scluper Partners Ltd.
Rolison, James P.                        Scott E Mellanby Revocable Trust, The
Roof Engineering PSP                     Scott, Doyle G.
Rosa, Michael A.                         Scott, Rick
Rosalie Galanti Credit Trust, The        Sears, Larry D.
Roscoe, Robert W.                        Seidler, Rosemary
Rosen, Jeffrey Peter                     Selz Capital LLC
Rosenfield, Jay                          Serimian, Marlon D.
Rosenfield, Lily                         Severson Family Properties LLC
Roth, Michael J.                         SG Americas Securities LLC
Rothert, David Mark                      SG Paris Fixed Income
Rotskoff, Albert                         Shaw, Virginia P.
Routledge, John                          Sheffield, Sandra G.
Rowe, Kevin Ian                          Sheldrup Building Services Co.
Roylance, Richard R.                     Sherwood, Geoffrey B.
Rozon, Glenn                             Shiferaw, Yohannes C.
Rozzo, Louise                            Shishodia, Rakesh
Ruan, Xiaoyu                             Shishodia, Renu
Rubin, Kevin                             Shoda, Ken
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Short, John Michael                     Stone, Stephen
Showalter, A. Harold                    Stonehill Capital Management LLC
Sidhu, Jaypal Singh                     Stonehill Institutional Partners LP
Silva, Carlos Gonzalez                  Stonehill Master Fund Ltd.
Simonsen, Lasse                         Story, Edward C.
Simpson Richard R.                      Strayer, Jayson Dee
Simpson, David Graham                   Susan Kahn Trust
Simpson, Richard R,, Jr.                Sutton, Ralph
Simsic, John E.                         Swallen, Drew Lamar
Siwek, Rafi                             Sweeney, David James
Slatton, Barry K.                       Sweigart, Ernest M.
Slone, Gary A.                          Tabedzki, Richard Z.
Smallman, Robert H.                     Tang, Nelson
Smedira, Jean F.                        Tanioka, Susan M.
Smith, Tamara C.                        Taylor, Arthur
Smith, Timothy                          Taylor, Julie Yates
Smoker, David S.                        Teachers Insurance & Annuity Association
Snell, Jaye B.                              of America, The
Snollaerts, Etienne P.                  Teaumen & Grace Fuite Foundation
Sodie, Susan                            Tejedor, Eduardo Ortega
Sohacheski, Jaime                       Tester, Neil
Solomon, Gregory                        Theodore E. Rasmussen III IRA
Solus Alternative Asset Management LP   Thijs M. Leenders (IRA)
Somay, Metin                            Thomas G. Hess Revocable Trust
Souhrada, Donald                        Thomas, Glenn C.
South Dakota Investment Council         Thompson, David S.
Spangler, Donald Mark                   Thompson, James Larry
Spedale, Daniel R.                      Thompson, Joseph Mark
Spencer, E.                             Thor, Daniel W.
Spencer, S.                             Tim Loo, Stanley Yuk
SPI Pharma Inc.                         Todd & Michelle Parker Trust
Spinner, Ralph                          Todd Colucy Rollover IRA
Square & Compass Investment Club LLC    Tomashefsky, Steven
Stahlberg, Steven                       Topham, Abraham Matthew
State Street Bank & Trust Co.           Townsend, Darryl
State Street Global Advisors Inc.       Townsend, Darryl Ray
Stefflre, Gregory A.                    Townsend, Sally
Steinberg, Harry Seymour                Townsend, Sally E.
Steiner, Kathleen                       Tranbarger, Mick L
Stepanoff, Serge                        Trimble, James
Stettner, Jerald W.                     Trongeau, Leslie N.
Steven Kroll Trust, The                 Trust for the benefit of Leonard & Ronnie
Stevens, Kevin Lewis                        Rubin
Stewart, Ricky L.                       Trustee of The Hugh M.
Stifel, Nicolaus & Co. Inc.             Tse, Joanna
Stockcross Financial Services Inc.      Turnbow, Bennett
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Turton, Thomas Wayne                       Wells, James L.
UBS Group AG                               Werchadlo, Joshua
Umeda, Eileen M.                           West Texas Independent Financial Services
Umeda, Leslie H.                           WFA PCL Collateral Account
URI Shohet Rollover IRA                    WFNBA Collateral Account Fbo
Urwiller, Steven W.                        Whiston, William B.
USAFact Inc., 401K Plan                    Whitebox Advisors LLC
Uwechue, Uzo Phil                          Whitebox Asymmetric Partners LP
Uzdy, Zoltan                               Whitebox Credit Partners LP
Vajda, David J.                            Whitebox GT Fund LP
Valdez, Betty                              Whitebox Multi-Strategy Partners LP
Valledupar Valley Management Co. LP        Whitebox Relative Value Partners LP
Valueworks Capital Management LLC          Wicker, Edward R., Sr.
Vaneck, Charles                            Widdicombe, Sara Ingersoll
Vanessa Falkoff Rollover IRA               Wilhelm, Rita A.
Vanleeuwen, Evan Balfour                   Wilkinson, Webster
Vanpelt, Barbara J.                        William Kahn Trust
Velcorp LLC                                William R. Look Rollover IRA
Verhoeven, Thomas                          William R. Owen IRA
VFTC TR                                    William T. Seila (IRA)
Villar Cid, Juan Carlos                    Williams, Michael
Vlitos-Rowe, Irene Helen                   Williams, Morgan Lloyd
Vu, Michael H.                             Wilmington Trust NA
Waheguru Singh Khalsa IRA                  Wilson, Cindy Anne
Walker, Robert A.                          Wilson-Murphy, Colin Lawrence
Walker, Sam H.                             Windermere Ireland Fund PLC
Waller, Ronald Mark                        Winters, Marilyn H.
Wang, Joy C.                               Wojnarowski, James R.
Wang, Patrick X.                           Wolcott, Jenna
Ward, William D.                           Wolf, Clifford A.
Wark, Dale A.                              Wolf-Small, Brigitte
Watts, James Alfred                        Wolverine Asset Management LLC
Wawrin, Elodie J.                          Wolverine Flagship Fund Trading Ltd.
Webber, Robert P.                          Wong, Lauren M.
Weber, Carl Jay                            Wood, Charles Dillard, Jr.
Weber, Jason Ethan                         Woodvale Management Financial Ltd.
Weber, Jay                                 Worden, Barbara J.
Webster, Len                               Wright, John
Weinberg, Amir                             Wright, Robert M., Jr.
Weinberg, Zwi                              Wu, Meng-Lin
Weinstein, Richard H.                      Wyss, Angelina
Wells Capital Management Inc.              Yanchyshyn, Peter Eugene
Wells Fargo & Co.                          Yauchler, Gene
Wells Fargo Income Opportunities Fund      Yauchler, Judy
Wells Fargo Multi-Sector Income Fund       Yeldezian, Charles
Wells Fargo Utilities & High Income Fund   Yohman, Chance Evan
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Young, Carolyn M.
Young, Michael M.
Zabel, John R.
Zatorski, Richard T.
Zitzner 1998 Revocable Trust
Zlatos, Steve Edward
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                                     SCHEDULE 1(g)
                                        Top Vendors

Admin Navieros del Golfo
Bollinger Shipyards LLC
Brunvoll Volda AS
C-Port/Stone LLC
Danos LLC
Fratelli Cosulich Comercio
Gulf Copper & Manufacturing Corp.
Huisman North America Services
International Ship Repair & Marine Services Inc.
Louisiana Machinery Co. LLC
MacArtney Group Inc., The
Mare Island Dry Dock LLC
Marine Fab & Repair Inc.
Provisions Energy & Marine Support
Schottel Inc.
Speedcast Communications Inc.
Talleres Navales del Golfo
United UATP Program
Vigor Marine LLC
Wartsila North America
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                                    SCHEDULE 1(h)
                        Governmental/Regulatory Agencies/Unions

ABS Americas                                  Louisiana, State of, Department of
ABS Mexico                                        Environmental Quality
Almeida, Cesar Augusto Ramon                  Louisiana, State of, Department of Revenue
American Bureau of Shipping Inc.              Louisiana, State of, Secretary of State
Aquapar Consultoria Naval Ltda.               Lousiana, State of, Commissioner of
Aransas - Corpus Cristi Pilots                    Securities
Associated Branch Pilots                      Mexico, Government of, Servicio de
Associated Federal Pilots                         Administración Tributaria
Boston Coastwise Pilots                       Michigan, State of
Broward, County of (FL), Tax Collector        Mobile Bar Pilots LLC
Bureau Veritas Marine Inc.                    Moorehead City Pilots Association
Bureau Veritas Mexicana SA de CV              New Jersey, State of
California, State of, Department of Fish &    New York Stock Exchange Inc.
    Game                                      New York, State of
Charleston Branch Pilots Association          New York, State of, Department of State
Collin, County of (TX), Tax Assessor          NO/BRA Steamship Pilots Association
    Collector                                 O'Brien's Response Management Inc.
Columbia River Bar Pilots                     Pacific Pilotage Authority
Columbia River Pilots                         Palm Beach Harbor Pilots Association
Conagua                                       Pascagoula Bar Pilots
Crescent River Port Pilots                    Pirani & Associates Ltda.
Crockett, City of (TX), Tax Assessor          Port Everglades Pilots Association
CSR Consultoria e Engenharia Ltda.            Port of Corpus Christi Authority
Delaware, State of                            Port of New Orleans
Det Norske Veritas (USA) Inc.                 Port Ship Service Inc.
Detran Estado do Rio de Janeiro               Portsmouth Pilots Inc.
DNV GL Ltda.                                  Prefeitura Niteroi
Financial Accounting Standards Board, The     Prefeitura Rio de Janeiro
Galveston-Texas City Pilots                   Previdencia Social
George Lee Ltd.                               Puget Sound Pilots
Governo do Estado do Rio                      Romania, Government of, Bugetul de Stat
Harris, County of (TX), Tax Assessor-         Sabine Pilot Association
    Collector                                 San Francisco Bar Pilots
Hawaii Pilots Association                     Secretaria da Receita Federal
Houston County Appraisal District             Sidmag 2008 Organizacoes Conta
Houston Pilots                                SindFogo
Iberia, Parish of (LA)                        Sindicato Nacional Dos Taifeir
Isle of Man, Government of the, Department    Sindmarconves
    of Trade                                  Southeast Alaska Pilots Association
Lafourche Parish School Board                 St. Andrew Bay Pilots Association
Lafourche, Parish of (LA), Government         St. Johns Bar Pilot Association
Lafourche, Parish of (LA), Sheriff's Office   St. Mary, Parish of (IL), Sheriff's Office
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St. Tammany, Parish of (LA)
St. Vincent & the Grenadines, Government
    of
Syndarma
Tangipahoa, Parish of (LA), Sheriff's Office
Terrebonne, Parish of (LA), Sheriff & Ex-
    Officio Tax Collector
Tribunal Justica do Estado de São Paulo
Trinidad & Tobago, Government of, Board
    of Inland Revenue, Chairman
Trinidad & Tobago, Government of,
    Ministry of Finance
United Kingdom, Government of the, Board
    of Inland Revenue
United States, Government of the,
    Department of Health & Human
    Services
United States, Government of the,
    Department of Homeland Security
United States, Government of the,
    Department of Treasury
United States, Government of the, Federal
    Communications Commission
United States, Government of the, Federal
    Trade Commission
United States, Government of the, Securities
    & Exchange Commission
US Coast Guard Art/Others
US Coast Guard Overseas
USCG Vessel Inspection
Vanuatu Maritime Services Ltd.
Virginia Pilot Association
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                                  SCHEDULE 1(i)
                                Insurance/Surety Bonds

Afianzadora Sofimex SA
American Longshore Mutual Association Ltd.
Armada Administrator LLC
Arnold & Arnold Inc.
Aucoin Claims Service Inc.
AXA Seguros SA de CV
Bowen Miclette & Britt of LA LLC
Bradesco Auto/RE Companhia de Seguros
Bradesco Vida e Previdencia SA
BXS Insurance
C. A. Shea & Co. Inc.
Chubb Ltd.
Chubb Seguros Mexico SA
Chubb Seguros Saude SA
Cigna Expat Health Insurance
Corporacion del Fondo del Seguro del Estado
Duff & Phelps LLC
Euler Hermes North America Insurance Co. Inc.
FAJE Logistica e Transporte Ltda.
Fernandes Maritime Consultants LLC
Frenkel & Co.
HSBC Seguros SA de CV, Grupo Financiero HSBC
Lockton Cos. International Ltd.
Lockton Mexico Agente de Seguros y Fianzas SA de CV
Marsh USA Inc.
MetLife Mexico SA
Nationwide Agribusiness Insurance Co.
Philadelphia Indemnity Insurance Co.
Prudential Insurance Co. of America Inc., The
Seguros Afirme SA de CV
Seguros Banorte SA de CV
Seguros Inbursa SA Grupo Financiero Inbursa
Seguros Sura SA
Sul América SA
SulAmérica Odontologico SA
Tokio Marine Seguradora SA
Unum Life Insurance
Westchester Fire Insurance Co.
Western Surety Co.
York Risk Services Group Inc.
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                             SCHEDULE 1(j)
                             Investment Banker

Guggenheim Securities LLC
Oppenheimer & Co. Inc.
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                                   SCHEDULE 1(k)
                                         Landlords

Bolanos, Imelda Josefina
Carrillo, Jose Luis Martinez
Carvalho Hosken SA Engenharia e Construções
Chame, Luiz Sergio
Construcciones e Inmobiliaria
Constructora e Inmobiliaria Centroamericana SA de CV
Cubillan, Marlon Engels Marin
CWS Corporate Housing LLC
Dove, Gordon E., Sr.
Escalante, Maria Jose del Rio
Gmorla Sul Construcao Civil
Grupo RH SA de CV
GWP Eight Twelve LLC
Hornbeck Ranch
Hornbeck, Larry D.
Inmobiliaria Marqcast SA de CV
Jarrin, Salvador Jesus Compan
Le Monde ADM Ltda.
Louisiana, State of, Division of Administration, Greater Lafourche Port Commission
Miranda, Paulo Roberto Pascoal
Northpark Corporate II LLC
NVD Centro de Negocios
PAX Imóveis Ltda.
SCF Brazil NP Fundo de Investimento Direitos Creditorios Nao Padronizados Multissetorial
Scott Armature Sales & Storage LLC
Stirling Properties LLC
Sunflower Maritime Support Ltda.
Tents of the Southwest Inc.
Waterstone at Springfield
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                                     SCHEDULE 1(l)
                                          Litigation

Arteaga Feliciano, Beatriz Ivon
Astromaritima Navegacao SA
Cañedo, Ruben Agustin
Contreras Mendez, Jose Manuel
Contreras, Evert Ramirez
Gapiz, Eduardo Muñoz
Gulf Island Shipyards LLC
Izquierdo, Julio Cesar
Kelley, Bobby
Knox, Carlos
Lima, David Graciano
Limberg, Liborio Gil
Macae, Municipality of (RJ)
Martinez Rodriguez, Reyna Elizabeth
Mendonça da Silva, Roquelane
Opinvest Participações e Serviços Ltda.
Pedrero Montiel, Fernando Alejandro
Pesta, Steven
Petroleo Brasileiro SA
Quintanilha, Pedro Lacerda
Rielage, Uwe
Rio de Janeiro, Municipality of (RJ)
Spivey, Ward
Tiznado Maldonado, Jose Carlos
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                                 SCHEDULE 1(m)
                                 Significant Customers

All In Services SA de CV                      Petroleo Brasileiro SA
Anadarko Petroleum Corp.                      Repsol Exploracion Guyana SA
Apache Suriname 58 Corp.                      Rovop Inc.
Aqueos Corp.                                  Seiche Ltd.
Astromaritima Navegacao SA                    Servicos de Petroleo Constellation SA
BHP Billiton Petro Americas                   Shell Brasil Petroleo Ltda.
BHP Billiton Petroleum TT Ltd.                Shell Offshore Inc.
BOE Exploration & Production                  SKY-MAR Services SA de CV
Bunker One Combustiveis                       SMIT Salvage Americas Inc.
Chevron Production Co.                        Subsea 7 (US) LLC
Deep Gulf Energy LP                           Subsea 7 i-Tech Ltd.
Delta SubSea LLC                              Subtec SA de CV
Diamond Offshore Drilling Inc.                Talos Energy Inc.
Drebbel de Mexico SA de CV                    Talos Energy Offshore Mexico 7
Enermech Mechanical Services Inc.             Technip USA Inc.
Eni US Operating Co. Inc.                     URS Corporation México S. de RL de CV
Equinor Gulf of Mexico LLC                    Vision Technologies Marine Inc.
Equinor South Riding Point LLC                VT Halter Marine
Exxon Mobil Corp.                             W&T Offshore Inc.
Foss Maritime Co.                             Walter Oil & Gas Corp.
Fourchon Launch Services LLC
Fugro USA Marine Inc.
Grupo R Perforacion
Halliburton Energy Services Inc.
Heerema Marine Contractors
HOC Offshore S. de RL de CV
HOS-MEX
J. Ray Mcdermott de Mexico
Karoon Peru Registry
Kilgore Marine LLC
Kosmos Energy Gulf of Mexico
LLOG Exploration Co. LLC
McDermott Inc.
M-I LLC
Military Sealift Command
Murphy Exploration & Production & Co.
Oceaneering International Inc.
Oceaneering International SA de CV
O'Rourke Dist. Co. LLC
PC Carigali Mexico Operations SA de CV
PEMEX Exploracion y Produccion
Permaducto SA de CV
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                              SCHEDULE 1(n)
                               U.S. Trustee Office

Boykin, Jacqueline
Duran, Hector
Griffin, Barbara
Hobbs, Henry G.
Johnson-Davis, Luci
Livingstone, Diane
March, Christine
Motton, Linda
Otto, Glenn
Ratchford, Nancy
Robbins, Judy A.
Schmidt, Patricia
Smith, Gwen
Statham, Stephen
Waxton, Clarissa
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                                   SCHEDULE 1(o)
                                         Utilities

AT&T Inc.
AT&T Mobility LLC
CFE Suministrador de Servicios Basicos
Claro SA
Comcast Business Communications LLC
Comcast Cable Communications LLC
Comercializadora Metrogas SA de CV
Companhia Distribuidora de Gás do Rio de Janeiro - CEG
Constellation Energy Group Inc.
DS Services of America Inc.
Entergy Corp.
Houston County Electric Cooperative Inc.
Lafourche Parish Water District No. 1
Light Serviços de Eletricidade SA
Republic Services Inc.
SBC Internet Services Inc.
South Louisiana Electric Cooperative Association
Spectrum
Tangipahoa Water District (LA)
Verizon Wireless Services LLC
Viasat Inc.
Vision Communications LLC
Vivo Energy plc
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                              SCHEDULE 2

                               Name of Entity and/or Affiliate of
    Name of Entity Searched                                          Status
                                  Entity, that is a K&E Client
Anadarko Petroleum Corp.       Kerr McGee Corporation                Closed
                               Occidental Petroleum Corporation      Closed
Ares Management LLC            American Capital Equity               Current
                                  Management II, LLC
                               American Capital Strategies Ltd.      Closed
                               American Capital, Ltd.                Closed
                               Antony Ressler                        Current
                               Ares Capital Corporation and          Current
                                  certain of its funds
                               Ares Commercial Real Estate           Current
                                  Corporation
                               Ares Energy Investors Fund V, L.P.    Current
                               Ares Energy Opportunities Fund, LP    Current
                               Ares European Real Estate Advisors    Closed
                                  IV, L.P.
                               Ares European Real Estate Fund III,   Current
                                  L.P.
                               Ares Management Corp.                 Current
                               Ares Management Corp. and certain     Current
                                  of its funds
                               Ares Management Corporation           Current
                               Ares Management Limited               Current
                               Ares Management LLC                   Current
                               Ares US Real Estate Opportunity       Current
                                  Fund III, L.P.
                               Ares US Real Estate Opportunity       Current
                                  Parallel Fund III-A, L.P.
                               David B. Kaplan                       Current
                               James H. Simmons, III                 Current
                               Matthew Cwiertnia                     Closed
Arnold & Arnold Inc.           Hellman & Friedman LLC                Current
AT&T Inc.                      AT&T Corporation                      Closed
AT&T Mobility LLC              AT&T Inc.                             Closed
SBC Internet Services Inc.     AT&T Intellectual Property II, L.P.   Closed
                               AT&T Intellectual Property LLC        Closed
                               AT&T Services, Inc.                   Current
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                                Name of Entity and/or Affiliate of
    Name of Entity Searched                                            Status
                                   Entity, that is a K&E Client
                                DIRECTV Customer Services, Inc.        Closed
                                DIRECTV Enterprises, LLC               Current
                                DIRECTV Group Holdings, LLC            Current
                                DIRECTV Holdings LLC                   Current
                                DIRECTV Merchandising, Inc.            Current
                                DIRECTV Operations LLC                 Current
                                DIRECTV Sports Network LLC             Current
                                DIRECTV Sports Networks, LLC           Current
                                Directv, LLC                           Current
                                The DIRECTV Group, Inc.                Current
AXA Seguros SA de CV            AB Commercial Real Estate Debt         Current
                                    Series 1-A
                                AB Commercial Real Estate Debt         Current
                                    Series 1-B
                                AB Commercial Real Estate Debt         Current
                                    Series 1-C
                                AB Institutional Series B              Current
                                AB Institutional Series C              Current
                                AXA Equitable Holdings, Inc.           Current
                                Axa Equitable Life Insurance           Current
                                    Company
                                AXA REIM SGP                           Current
B. Riley FBR Inc.               B. Riley FBR, Inc.                     Current
                                Great American Group, LLC              Current
Bank of America Merrill Lynch   Banc of America Capital Investors      Current
                                    SBIC, L.P.
Bank of America NA              BancAmerica Capital Investors          Current
                                    SBIC II, L.P.
                                Bank of America Capital Investors      Current
                                Bank of America Corporation            Current
                                Bank of America Merrill Lynch          Current
                                Bank of America Securities Limited     Current
                                Bank of America Ventures               Current
                                Bank of America, N.A.                  Current
                                Benjamin Klein                         Current
                                Merrill Lynch Capital Services, Inc.   Closed
                                Merrill Lynch, Pierce, Fenner &        Former
                                    Smith Incorporated
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                                 Name of Entity and/or Affiliate of
    Name of Entity Searched                                           Status
                                    Entity, that is a K&E Client
Barclays plc                     Barclays                             Current
                                 Barclays Capital Inc.                Closed
BHP Billiton Petro Americas      BHP Billiton Limited                 Current
BHP Billiton Petroleum TT Ltd.   BHP Billiton Marketing Asia Pte      Current
                                     Ltd.
Blackrock Fund Advisors          Mark B. Florian                      Current
                                 Patrick C. Eilers                    Current
BNY Mellon Asset Management      Alcentra Limited                     Closed
  North America Corp.
BNY Mellon NA                    BNY Mellon Capital Markets, LLC      Closed
BOE Exploration & Production     BCP (Singapore) VI Cayman            Current
                                     Acquisition Co. Ltd.
LLOG Exploration Co. LLC         BCP VIII, L.P.                       Current
Solus Alternative Asset          Bilal Khan                           Current
   Management LP
                                 Blackstone Alternative Asset         Current
                                    Management L.P.
                                 Blackstone Alternative Solutions     Current
                                    LLC
                                 Blackstone Asia                      Current
                                 Blackstone Family Real Estate        Current
                                    Partnership (Offshore) VIISMD
                                    L.P.
                                 Blackstone Family Real Estate        Current
                                    Partnership Europe IV-SMD
                                    L.P.
                                 Blackstone Infrastructure Partners   Current
                                 Blackstone Life Sciences Advisors    Current
                                    LLC
                                 Blackstone Management Partners       Current
                                    LLC
                                 Blackstone Mortgage Trust Inc.       Current
                                 Blackstone Property Partners L.P.    Closed
                                 Blackstone Real Estate               Current
                                 Blackstone Real Estate Advisors LP   Current
                                 Blackstone Real Estate Holdings      Current
                                    (Offshore) VII-NQ L.P.
                                 Blackstone Real Estate Holdings      Current
                                    (Offshore) Vll-NQ - ESC L.P.
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                           Name of Entity and/or Affiliate of
Name of Entity Searched                                         Status
                              Entity, that is a K&E Client
                           Blackstone Real Estate Holdings      Current
                              Europe IV-NQ ESC L.P.
                           Blackstone Real Estate Partners      Current
                           Blackstone Real Estate Partners      Closed
                              (Asia) Limited
                           Blackstone Real Estate Partners      Current
                              (Offshore) Vll.F-NQ L.P.
                           Blackstone Real Estate Partners      Current
                              (Offshore) Vll.TE.1-8-NQ L.P.
                           Blackstone Real Estate Partners      Current
                              (Offshore) Vll-NQ L.P.
                           Blackstone Real Estate Partners      Current
                              Europe
                           Blackstone Real Estate Partners      Current
                              Europe IV-NQ L.P.
                           Blackstone Real Estate Partners      Current
                              Limited
                           Blackstone Real Estate Special       Current
                              Situations Advisors LLC
                           Blackstone Singapore Pte Ltd.        Current
                           Blackstone Strategic Capital         Current
                              Holdings
                           Blackstone Strategic Capital         Current
                              Holdings L.P.
                           Blackstone Strategic Opportunity     Current
                              Fund
                           Blackstone Strategic Partners        Current
                           Blackstone Tactical Opportunities    Current
                           Blackstone Tactical Opportunities    Current
                              Advisors LLC
                           Blackstone Tactical Opportunities    Closed
                              Fund, L.P.
                           David I. Foley                       Current
                           GSO Capital Opportunities Fund III   Current
                              L.P.
                           GSO Capital Partners                 Current
                           GSO Capital Partners International   Current
                              LLP
                           John-Paul Munfa                      Current
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                                Name of Entity and/or Affiliate of
    Name of Entity Searched                                          Status
                                   Entity, that is a K&E Client
                               Jonathan Korngold                     Closed
                               LLOG Bluewater, LLC                   Current
                               Solus Alternative Asset               Current
                                   Management LP
                               Strategic Partners Fund Solutions     Current
                               The Blackstone Group                  Current
                               The Blackstone Group International    Current
                                   Partners LLP
                               Vikram Suresh                         Current
Canaccord Genuity Group Inc.   Canaccord Genuity Wealth              Current
                                   Management
                               David Esfandi                         Closed
Canyon Capital Advisors LLC    AECOM-Canyon Real Estate Fund         Current
                                   Advisors LLC
                               Canyon Capital Advisors LLC           Current
                               ICE Canyon LLC                        Current
Capital One NA                 Capital One Bank (USA)                Closed
                               Capital One Financial Corporation     Closed
                               Capital One National Association      Closed
                               Murray Abrams                         Current
Centerbridge Partners LP       Centerbridge Partners Europe LLP      Closed
                               Centerbridge Partners, L.P.           Current
Charles Schwab Bank            Charles Schwab & Co., Inc.            Closed
Chevron Production Co.         Chevron Corporation                   Current
                               Chevron U.S.A. Inc.                   Current
Cigna Expat Health Insurance   Cigna Behavioral Health, Inc.         Current
                               Cigna Corporation                     Current
                               Cigna Health and Life Insurance       Current
                                   Company
                               CIGNA Health Corporation              Current
                               Cigna Healthcare - Mid-Atlantic,      Closed
                                   Inc.
                               CIGNA HealthCare of California,       Current
                                   Inc.
                               Cigna Healthcare of Colorado, Inc.    Closed
                               CIGNA HealthCare of Florida, Inc.     Current
                               CIGNA Healthcare of Georgia, Inc.     Current
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                                    Name of Entity and/or Affiliate of
    Name of Entity Searched                                                Status
                                       Entity, that is a K&E Client
                                    CIGNA HealthCare of North              Current
                                       Carolina, Inc.
                                    CIGNA HealthCare of                    Current
                                       Pennsylvania, Inc.
                                    CIGNA HealthCare of South              Current
                                       Carolina, Inc.
                                    CIGNA HealthCare of St. Louis,         Current
                                       Inc.
                                    CIGNA HealthCare of Tennessee,         Current
                                       Inc.
                                    CIGNA HealthCare of Texas, Inc.        Current
                                    Cigna Healthcare, Inc.                 Closed
                                    CIGNA Insurance Co.                    Current
                                    Connecticut General Life Insurance     Current
                                       Company
Citi Retirement Account             Citibank                               Former
Citigroup Financial Products Inc.   Citibank, N.A.                         Closed
Citigroup Global Markets Inc.       Citicorp                               Closed
Citigroup Inc.                      Citicorp Mezzanine III, L.P.           Closed
Grupo Financiero Banamex SA de      Citigroup Global Markets Asia          Current
    CV                                  Limited
                                    Citigroup Global Markets Inc.          Current
                                    Citigroup Global Markets Ltd.          Closed
                                    Citigroup Inc.                         Closed
                                    Citigroup Venture Capital              Closed
                                        International Growth Partnership
                                        (Employee) II, L.P.
                                    Impulsora de Fondos Banamex, S.A.      Current
                                       de C.V., Sociedad Operadora de
                                       Fondos de Inversión, integrante
                                       del Grupo Financiero Banamex
Comcast Business Communications     Charter/Comcast JV                     Current
   LLC
Comcast Cable Communications
   LLC
Constellation Energy Group Inc.     Exelon Corporation                     Current
                                    William A. Von Hoene, Jr.              Current
Corporacion del Fondo del Seguro    Commonwealth of Puerto Rico            Closed
   del Estado
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                                    Name of Entity and/or Affiliate of
    Name of Entity Searched                                              Status
                                       Entity, that is a K&E Client
Military Sealift Command            Eddie Baza Calvo                     Closed
United States, Government of the,   Government Development Bank of       Closed
   Department of Health & Human        Puerto Rico
   Services
United States, Government of the,   Government of Guam                   Closed
   Department of Homeland
   Security
United States, Government of the,   Guam Election Commission             Current
   Department of Treasury
United States, Government of the,   Konstantina Diamantopoulos           Current
   Federal Communications
   Commission
United States, Government of the,   Luis F. Cruz Batista                 Closed
   Federal Trade Commission
United States, Government of the,   Orly Godfrey                         Current
   Securities & Exchange
   Commission
US Coast Guard Art/Others           Puerto Rico Aqueduct and Sewer       Closed
                                       Authority
US Coast Guard Overseas             Puerto Rico Fiscal Agency and        Closed
                                       Financial Advisory Authority
USCG Vessel Inspection              Rep. William Ballard Hurd            Closed
                                    Robert J. Quigley                    Current
                                    Territory of Guam                    Current
                                    United States Department of          Closed
                                       Homeland Security
DBX Advisors LLC                    DB U.S. Financial Markets            Current
                                    Deutsche Bank AG                     Current
                                    Deutsche Bank AG, New York           Current
                                       Branch
                                    Deutsche Bank Americas Holding       Current
                                       Corporation
                                    Deutsche Bank Securities Inc.        Closed
                                    Deutsche Bank Trust Company          Current
                                       Americas
                                    Deutsche Bank Trust Corporation      Current
Diamond Offshore Drilling Inc.      Consolidated Container Company       Closed
                                    Continental Casualty Company         Current
Duff & Phelps LLC                   Duff & Phelps LLC                    Current
                                    Duff & Phelps Ltd.                   Current
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                                    Name of Entity and/or Affiliate of
    Name of Entity Searched                                              Status
                                       Entity, that is a K&E Client
                                    Further Global Capital               Current
                                       Management, L.P.
                                    Prime Clerk LLC                      Current
Duff & Phelps LLC                   Duff & Phelps LLC                    Current
                                    Duff & Phelps Ltd.                   Current
                                    Prime Clerk LLC                      Current
                                    Stone Point Capital LLC              Current
Enermech Mechanical Services Inc.   Carlyle Asia Investment Advisers     Current
                                       Limited
Vigor Marine LLC                    Carlyle Aviation Fund Management     Current
                                       LLC
                                    Carlyle Energy Mezzanine             Current
                                       Opportunities Fund II, L.P.
                                    Carlyle Europe Technology Partners   Closed
                                       III Advisor S.a.r.l.
                                    Carlyle Global Credit Investment     Current
                                       Management LLC
                                    Carlyle Infrastructure Fund, L.P.    Current
                                    Carlyle Investment Management        Current
                                       LLC
                                    Carlyle Realty Partners III, L.P.    Closed
                                    Carlyle Realty Partners IV, L.P.     Closed
                                    Carlyle Realty Partners V, L.P.      Closed
                                    Carlyle Realty Partners, L.P.        Closed
                                    Rodney S. Cohen                      Current
                                    The Carlyle Group                    Current
                                    The Carlyle Group Europe - CEP IV    Closed
                                       Advisor S.a r.l.
Equinor Gulf of Mexico LLC          Equinor ASA                          Closed
Equinor South Riding Point LLC
Ernst & Young LLP                   Ernst & Young Canada                 Current
                                    Ernst & Young LLP                    Closed
                                    Ernst & Young U.S. LLP               Closed
Euler Hermes North America          Allianz Capital Partners GmbH        Closed
   Insurance Co. Inc.
                                    Pacific Investment Management        Current
                                       Company, LLC
Exxon Mobil Corp.                   Exxon Mobil Corporation              Closed
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                                Name of Entity and/or Affiliate of
    Name of Entity Searched                                           Status
                                   Entity, that is a K&E Client
Frenkel & Co.                   Oak Hill Capital Management           Current
Oak Hill Advisors LP
Goldman Sachs & Co.             Goldman Sachs                         Current
                                Goldman Sachs (Asia) LLC              Current
                                Goldman Sachs Asset Management        Closed
                                   International
                                Goldman Sachs Asset Management        Current
                                   International Ltd.
                                Goldman Sachs Group Inc., The         Current
                                Goldman Sachs Group, Merchant         Current
                                   Banking Division
                                Goldman Sachs International Ltd.      Current
                                Goldman Sachs MB Services             Closed
                                   Limited
                                Goldman Sachs Trust Company of        Current
                                   Delaware
                                West Street Infrastructure Partners   Closed
Guggenheim Securities LLC       Guggenheim Corporate Funding,         Current
                                   LLC
                                Guggenheim Credit Services, LLC       Current
                                Guggenheim Partners Investment        Current
                                   Management, LLC
GWP Eight Twelve LLC            CPP Investment Board                  Current
                                CPPIB Asia Inc.                       Current
                                CPPIB Canada Inc.                     Current
Highbridge Capital Management   Chase Bank USA, N.A.                  Closed
   LLC
JPMorgan Chase & Co. Inc.       Chase Paymentech Solutions, LLC       Closed
JPMorgan Chase Bank NA          Highbridge Asia Fund                  Closed
JPMorgan Chase Commercial       Highbridge Capital Management,        Current
   Mortgage Securities Corp.        LLC
                                Highbridge Co-Investment Vehicle      Closed
                                Highbridge Multi-Strategy Fund        Closed
                                Highbridge Tactical Credit Fund       Closed
                                J.P. Morgan Securities (Far East)     Current
                                    Limited
                                J.P. Morgan Securities Asia Pacific   Current
                                    Limited
                                J.P. Morgan Securities LLC            Current
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                                 Name of Entity and/or Affiliate of
    Name of Entity Searched                                            Status
                                    Entity, that is a K&E Client
                                 JP Morgan Chase & Co.                 Current
                                 JPMorgan Asset Management -           Closed
                                    Global Real Assets
                                 JPMorgan Chase & Co.                  Current
                                 JPMorgan Chase Bank NA                Current
                                 JPMorgan Chase Bank National          Current
                                    Association
                                 JPMorgan Chase Bank, N.A.             Closed
                                 JPMorgan Funds Limited                Current
                                 JPMorgan Investment Management        Current
                                    Inc. - Global Special Situations
                                 JPMorgan Investment Management        Current
                                    Inc. - Infrastructure Investment
                                    Group
                                 JPMorgan Ventures Energy              Current
                                    Corporation
HSBC Seguros SA de CV, Grupo     HSBC Bank USA, N.A.                   Closed
  Financiero HSBC
                                 HSBC Holdings plc                     Current
                                 HSBC Securities (USA) Inc.            Closed
                                 The HongKong and Shanghai             Closed
                                    Banking Corporation Limited
Invesco Global Short Term High   Invesco Private Capital Inc.          Current
   Yield Bond ETF
Invesco Capital Management LLC   Invesco Senior Secured                Closed
                                     Management Inc.
                                 WL Ross & Co. LLC                     Closed
J. Ray Mcdermott de Mexico       Berlian McDermott (L) Limited         Current
McDermott Inc.                   Berlian McDermott Sdn. Bhd.           Current
                                 J. Ray McDermott (Aust.) Holding      Current
                                     Pty. Limited
                                 J. Ray McDermott (Luxembourg),        Current
                                     S.a r.l.
                                 J. Ray McDermott (Norway), AS         Current
                                 J. Ray McDermott (Qingdao) Pte.       Current
                                     Ltd.
                                 J. Ray McDermott Canada Holding,      Current
                                     Ltd.
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                           Name of Entity and/or Affiliate of
Name of Entity Searched                                         Status
                               Entity, that is a K&E Client
                           J. Ray McDermott de Mexico, S.A.     Current
                               de C.V.
                           J. Ray McDermott Engineering         Current
                               Services Private Limited
                           J. Ray McDermott Far East, Inc.      Current
                           J. Ray McDermott Holdings, LLC       Current
                           J. Ray McDermott International       Current
                               Vessels, Ltd.
                           J. Ray McDermott International,      Current
                               Inc.
                           J. Ray McDermott Investments B.V.    Current
                           J. Ray McDermott Kazakhstan          Current
                               Limited Liability Partnership
                           J. Ray McDermott Logistic Services   Current
                               Private Limited
                           J. Ray McDermott Solutions, Inc.     Current
                           J. Ray McDermott Technology, Inc.    Current
                           J. Ray McDermott Underwater          Current
                               Services, Inc.
                           J. Ray McDermott, S.A.               Current
                           McDermott (Amazon Chartering),       Current
                               Inc.
                           McDermott (DLV 2000 Chartering),     Current
                               Inc.
                           McDermott Aqua Lift II)              Current
                               Chartering, Inc.
                           McDermott Arabia Company             Current
                               Limited
                           McDermott Arabia Holdings, Inc.      Current
                           McDermott Asia Pacific Pte. Ltd.     Current
                           McDermott Asia Pacific Sdn. Bhd.     Current
                           McDermott Australia Pty. Ltd.        Current
                           McDermott Azerbaijan Marine          Current
                               Construction, Inc.
                           McDermott Blackbird Holdings,        Current
                               LLC
                           McDermott Capital Malaysia Sdn.      Current
                               Bhd.
                           McDermott Caspian Contractors,       Current
                               Inc.
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                           Name of Entity and/or Affiliate of
Name of Entity Searched                                         Status
                             Entity, that is a K&E Client
                           McDermott Cayman Ltd.                Current
                           McDermott Eastern Hemisphere,        Current
                             Ltd.
                           McDermott Engineering L.L.C. and     Current
                             Khalid Suhail Al Shoaibi for
                             Engineering Consultancy
                           McDermott Engineering Sdn. Bhd.      Current
                           McDermott Engineering, LLC           Current
                           McDermott Far East, Inc.             Current
                           McDermott Finance LLC                Current
                           McDermott Gulf Operating             Current
                             Company, Inc.
                           McDermott Holdings (M) Sdn. Bhd.     Current
                           McDermott Holdings (U.K.)            Current
                             Limited
                           McDermott International B.V.         Current
                           McDermott International              Current
                             Investments Co., Inc.
                           McDermott International              Current
                             Management, S. de RL.
                           McDermott International Marine       Current
                             Investments N.V.
                           McDermott International Trading      Current
                             Co., Inc.
                           McDermott International Vessels,     Current
                             Inc.
                           McDermott International, Inc.        Current
                           McDermott Investments, LLC           Current
                           McDermott Italia S.r.l.              Current
                           McDermott Marine Construction        Current
                             Ghana Limited
                           McDermott Marine Construction        Current
                             Limited
                           McDermott Marine Mexico, S.A. de     Current
                             C.V.
                           McDermott Middle East, Inc.          Current
                           McDermott Offshore Services          Current
                             Company, Inc.
                           McDermott Old JV Office, Inc.        Current
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                              Name of Entity and/or Affiliate of
    Name of Entity Searched                                        Status
                                  Entity, that is a K&E Client
                              McDermott Overseas Investment        Current
                                  Co. N.V.
                              McDermott Overseas, Inc.             Current
                              McDermott Project Support FZE        Current
                              McDermott Serviços Offshore do       Current
                                  Brasil Ltda.
                              McDermott Subsea Engineering,        Current
                                  Inc.
                              McDermott Subsea, Inc.               Current
                              McDermott Technology (2), B.V.       Current
                              McDermott Technology (3), B.V.       Current
                              McDermott Technology (Americas),     Current
                                  Inc.
                              McDermott Technology (US), Inc.      Current
                              McDermott Technology SUB, LLC        Current
                              McDermott Technology, B.V.           Current
                              McDermott Technology, LLC            Current
                              McDermott Trinidad Ltd.              Current
                              McDermott, Inc.                      Current
                              P. T. McDermott Indonesia            Current
                              PT. J. Ray McDermott Indonesia       Current
KeyBank NA                    KeyBanc Capital Markets Inc.         Current
MetLife Mexico SA             MetLife Private Equity Holdings      Current
                                  LLC
M-I LLC                       Schlumberger Limited                 Current
                              Schlumberger Technology              Current
                              WesternGeco LLC                      Current
Moelis & Co.                  Moelis & Company                     Current
                              Moelis & Company UK LLP              Closed
                              Moelis Australia                     Closed
Morgan Stanley & Co. LLC      AMLI/BPMT Towne Square               Current
                                  Partnership
                              Morgan & Stanley & Co. LLC           Former
                              Morgan Stanley AIP GP LP             Current
                              Morgan Stanley Alternative           Current
                                  Investments, LLC
                              Morgan Stanley Asia Limited          Current
                              Morgan Stanley Infrastructure Inc.   Current
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                                    Name of Entity and/or Affiliate of
    Name of Entity Searched                                              Status
                                       Entity, that is a K&E Client
                                    Morgan Stanley Investment            Current
                                       Management Limited
                                    Morgan Stanley Mezzanine Partners    Current
                                    Morgan Stanley Real Estate           Current
                                       Investing
                                    Morgan, Stanley & Co.                Current
                                    MS MCC Highland LLC                  Closed
                                    Prime Property Fund                  Closed
Murphy Exploration & Production     Murphy Oil USA, Inc.                 Closed
  & Co.
Nationwide Agribusiness Insurance   Nationwide Mutual Insurance          Current
   Co.                                 Company
                                    Veterinary Pet Insurance Company     Current
Northern Trust Co., The             50 South Capital Advisors, LLC       Current
Northern Trust Co., The, as         Northern Trust Fiduciary Services    Current
   Custodian                           (Guernsey) Limited
Paul Weiss Rifkind Wharton &        John C. Godfrey                      Current
   Garrison LLP
PC Carigali Mexico Operations SA    Petronas Energy Trading Limited      Current
   de CV
Philadelphia Indemnity Insurance    HCC Insurance Holdings, Inc.         Current
    Co.
Tokio Marine Seguradora SA          HCC Life Insurance Company           Closed
                                    HCC Specialty Insurance Company      Closed
                                    HCC Specialty Underwriters, Inc.     Closed
                                    Houston Casualty Company             Closed
Prudential Insurance Co. of America Prudential Insurance Company of      Closed
   Inc., The                           America
Repsol Exploracion Guyana SA        Repsol LNG Holding, S.A.             Closed
                                    Repsol Oil & Gas Canada Inc.         Current
                                    Repsol Oil & Gas USA, LLC            Closed
Republic Services Inc.              Consolidated Disposal Service, LLC   Closed
SG Paris Fixed Income               SG Americas Securities, LLC          Closed
SG Americas Securities LLC
Spectrum                            Charter Communications Holdings,     Current
                                       LLC
                                    Charter Communications Operating,    Current
                                       LLC
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                                  Name of Entity and/or Affiliate of
    Name of Entity Searched                                            Status
                                      Entity, that is a K&E Client
                                  Charter Communications, Inc.         Current
                                  Charter Communications, LLC          Current
                                  Charter/Comcast JV                   Current
                                  Spectrum Management Holding          Current
                                      Company, LLC
                                  Time Warner Cable Inc.               Current
                                  Time Warner Cable Information        Current
                                      Services (Kansas), LLC
                                  Time Warner Cable LLC                Current
                                  TWC Communications, LLC              Current
Speedcast Communications Inc.     Globecomm Systems, Inc.              Current
Standard & Poor's LLC             Simon Jixiang Jin                    Closed
Stifel, Nicolaus & Co. Inc.       Stifel, Nicolaus & Company, Inc.     Closed
Teachers Insurance & Annuity      Nuveen Alternatives Advisors, LLC    Current
    Association of America, The
                                  Teachers Insurance and Annuity       Closed
                                     Association of America
Technip USA Inc.                  Technip-DeepOcean PRS JV DA          Closed
UBS Group AG                      Seema Khanna                         Current
                                  UBS AG, London Branch                Current
                                  UBS Asset Management Funds           Current
                                     Limited
                                  UBS Financial Inc.                   Closed
                                  UBS Financial Services, Inc.         Closed
                                  UBS Global Asset Management Inc.     Closed
                                  UBS Hedge Fund Solutions LLC         Current
                                  UBS Investment Bank                  Current
                                  UBS O'Connor LLC                     Current
                                  UBS Securities Hong Kong Limited     Current
                                  UBS Securities LLC                   Current
                                  UBS Warburg                          Current
United Kingdom, Government of     Her Majesty's Treasury               Closed
   the, Board of Inland Revenue
United UATP Program               United AirLines, Inc.                Current
                                  United Continental Holdings, Inc.    Current
URS Corporation México S. de RL   AECOM                                Current
  de CV
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                                   Name of Entity and/or Affiliate of
    Name of Entity Searched                                             Status
                                     Entity, that is a K&E Client
                                   AECOM-Canyon Real Estate Fund        Current
                                     Advisors LLC
Verizon Wireless Services LLC      Verizon Communications Inc.          Current
                                   Verizon New York, Inc.               Closed
Wells Capital Management Inc.      Jon Kossow                           Current
Wells Fargo & Co.                  Norwest Equity Capital, LLC          Closed
Wells Fargo Income Opportunities   Norwest Equity Partners VIII, LP     Closed
  Fund
Wells Fargo Multi-Sector Income    Norwest Venture Partners VI-A, LP    Closed
  Fund
Wells Fargo Utilities & High       Norwest Venture Partners VII-A, LP   Closed
  Income Fund
WFA PCL Collateral Account         Norwest Venture Partners VIII, LP    Closed
WFNBA Collateral Account Fbo       Wachovia Capital Partners            Closed
                                       Secondary Fund I, LP
                                   Wachovia Holdings Corporation        Closed
                                   Wachovia Investors, Inc.             Closed
                                   Wachovia Securities, LLC             Closed
                                   Wells Fargo Central Pacific          Closed
                                       Holdings, Inc.
                                   Wells Fargo Securities LLC           Current
                                   WFC Holdings Corporation             Closed
West LLC                           Apollo Global Management, Inc.       Current
                                   Apollo Management International      Current
                                       LLP
                                   Intrado Corporation                  Current
                                   Marc Rowan                           Current
                                   Martin Kelly                         Former
                                   MidCap Financial Services, LLC       Closed
Whitebox Advisors LLC              Whitebox Advisors LLC                Current
Whitebox Asymmetric Partners LP
Whitebox Credit Partners LP
Whitebox GT Fund LP
Whitebox Multi-Strategy Partners
   LP
Whitebox Relative Value Partners
   LP
Wilmington Trust NA                Wilmington Trust-London Limited      Current
York Risk Services Group Inc.      York Risk Services Group             Closed
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                           EXHIBIT B

                         Harp Declaration
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                               )
    In re:                                     ) Chapter 11
                                               )
                                             1
    HORNBECK OFFSHORE SERVICES, INC., et al., ) Case No. 20-32679 (DRJ)
                                               )
                  Debtors.                     ) (Jointly Administered)
                                               )

                             DECLARATION OF
              JAMES O. HARP, JR. IN SUPPORT OF THE DEBTOR’S
           APPLICATION FOR THE ENTRY OF AN ORDER AUTHORIZING THE
          RETENTION AND EMPLOYMENT OF KIRKLAND & ELLIS LLP
       AND KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR
    THE DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF MAY 19, 2020

          I, James O. Harp, Jr., Executive Vice President and Chief Financial Officer, of Hornbeck

Offshore Services, Inc., being duly sworn, state the following under penalty of perjury:

          1.     I am the Executive Vice President and Chief Financial Officer of Hornbeck Offshore

Services, Inc. (“Hornbeck”), located at 8 Greenway Plaza, Suite 1525, Houston, Texas 77046.

          2.     I submit this declaration (the “Declaration”) in support of the Debtors’ Application

for Entry of an Order Authorizing the Retention and Employment of Kirkland & Ellis LLP as

Attorneys for the Debtors and Debtors in Possession Effective as of May 19, 2020

(the “Application”).2 Except as otherwise noted, I have personal knowledge of the matters set

forth herein.




1     Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
      complete list of the Debtor entities and the last four digits of their federal tax identification numbers is not
      provided herein. A complete list may be obtained on the website of the Debtors’ claims and noticing agent at
      http://cases.stretto.com/hornbeck. The location of the Debtors’ service address is: 8 Greenway Plaza, Suite 1525,
      Houston, Texas 77046.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Application.
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                               The Debtors’ Selection of Counsel

       3.      The Debtors recognize that a comprehensive review process is necessary when

selecting and managing chapter 11 counsel to ensure that bankruptcy professionals are subject to

the same client-driven market forces, scrutiny, and accountability as professionals in

non-bankruptcy engagements.

       4.    Kirkland represented the Debtors in prior financial transactions, and the Debtors

retained Kirkland because of its extensive experience in corporate reorganizations, both out-of-

court and under chapter 11 of the Bankruptcy Code. More specifically, Kirkland is familiar with

the Debtors’ business operations and many of the potential legal issues that may arise in the context

of these chapter 11 cases. I believe that Kirkland is both well qualified and uniquely able to

represent the Debtor in these chapter 11 cases in an efficient and timely manner.

                                          Rate Structure

       5.      In my capacity as Executive Vice President and Chief Financial Officer, I am

responsible for supervising outside counsel retained by the Debtors in the ordinary course of

business. Kirkland has informed the Debtors that its rates for bankruptcy representations are

comparable to the rates Kirkland charges for non-bankruptcy representations. As discussed below,

I am also responsible for reviewing the statements regularly submitted by Kirkland, and can

confirm that the rates Kirkland charged the Debtors in the prepetition period are the same as the

rates Kirkland will charge the Debtors in the postpetition period.

                                         Cost Supervision

       6.      The Debtors have approved the prospective budget and staffing plan for the period

from the Petition Date to July 7, 2020, recognizing that in the course of a large chapter 11 case

like these chapter 11 cases, it is possible that there may be a number of unforeseen fees and


                                                 2
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expenses that will need to be addressed by the Debtors and Kirkland. The Debtors further

recognize that it is their responsibility to closely monitor the billing practices of their counsel to

ensure the fees and expenses paid by the estates remain consistent with the Debtors’ expectations

and the exigencies of the chapter 11 cases. The Debtors will continue to review the statements

that Kirkland regularly submits, and, together with Kirkland, amend the budget and staffing plans

periodically, as the case develops.

       7.      As they did prepetition, the Debtors will continue to bring discipline, predictability,

client involvement, and accountability to the counsel fees and expenses reimbursement process.

While every chapter 11 case is unique, these budgets will provide guidance on the periods of time

involved the level of the attorneys and professionals that will work on various matters, and

projections of average hourly rates for the attorneys and professionals for various matters.



                               [Remainder of Page Intentionally Left Blank]




                                                  3
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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

 Dated: May 26, 2020                                Respectfully submitted,

                                                 /s/ James O. Harp, Jr.
                                                Name: James O. Harp, Jr.
                                                Title: Executive Vice President and Chief
                                                Financial Officer
                                                Hornbeck Offshore Services, Inc., on behalf of
                                                themselves and their Debtor affiliates




                                                4
